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                           EXHIBIT A
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     A                    B           C             D                   E                 F                                    G                                                    H                                             I

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2        Mighty Argo Cable Car                                                                                                                                                                                                                     2.9.2021
3        Investor Contact List
                                 Joinder     Subscription
4        Subscription #          Agreement   Booklet        First Name             Last Name   Address                                                                                                                  Investing Account
5                         1           Yes          Yes      Greg                   Kreiling    3520 Owens St Wheat Ridge CO 80033                                         Individual Ownership                           Gregory J. Kreiling
6                         3           Yes          Yes      Jack (William)         Littleton   345 Eacher Hollow Rd Horseheads, New York 14845                            Individual Ownership                         William John Littleton
7                         4           Yes          Yes      Caroline               Simpson     168 Hoffman Ave Sagle IO 83860                                             Individual Ownership                          Caroline D Simpson
8                                                           Dan                    Mills       PO Box 1376 Sagle ID 83860
                          5          Yes           Yes                                                                                                           Joint Tenants with Rights of Survivorship              Dan Mills Gail Mills
9                                                           Gail                   Mills       PO Box 1376 Sagle ID 83860
10                        6          Yes           Yes      Charles (Chas)         Nelson      32458 Little Cub Rd, Evergreen CO 80439                                    Individual Ownership                            Charles R Nelson
11                        8          Yes           Yes      Dave                   Kost        456 Crystal Ridge Rd., Evergreen, CO 80439                                    Partnership LLC                       Rustic Ridge Investments, LLC
12                                   Yes           Yes      S. David               Dozbaba     166 Siesta Circle Evergreen, CO 80453
                          9                                                                                                                                      Joint Tenants with Rights of Survivorship        S. David and Pamela L, Dozbaba
13                                   Yes           Yes      Pam                    Dozbaba     166 Siesta Circle Evergreen, CO 80453
14                        10         Yes           Yes      Timothy                Kerr        303 and 1/2 Fanmar Way Capitola CA 95010                                   Individual Ownership
15                        11         Yes           Yes      Ed                     MacArthur   816 Springhill Road Steamboat Springs 80487                                        Trust                             Charles E. MacArthur Trust
16                        12         Yes           Yes      Roy                    Cook        4747 Research Forest Drive #180-172 The Woodlands TX 77381                      Partnership                         RNC Colorado Investment LLC
17                                   Yes           Yes      Steve                  Indrahus    377 Dumont Lane/PO Box 66 Dumont CO 80436
                          14                                                                                                                                     Joint Tenants with Rights of Survivorship         Steve Indrehus Maria Indrehus
18                                   Yes           Yes      Maria                  Indrahus    377 Dumont Lane/PO Box 66 Dumont CO 80436
19                        15         Yes           Yes      Joe                    Hitchcock   2336 SE Ocean Blvd #138 Stuart FL 34996                                    Individual Ownership
20                        16         Yes           Yes      Mourer                 Blake       14815 Foothill Road Golden CO 80401                                      Limited Liability Company                    Open Studio Architecture
21                                                          David                  Parker      PO Box 891 Hill City SD 57745
22                                                          Jennifer               Truong      603 S Cook St Barrington IL 60010
23                        20         Yes           Yes      Noyes                  Combs                                                                                Limited Liability Company                            JSML, LLC
24                                                          Mattew                 Parker
25                                                          Laura                  Parker
26                        21         Yes           Yes      Thomas L               Burke       308 Newman Ct, Lake Bluff, ILL, 60044                                              Trust                               Thomas L. Burke Trust
27                        23         Yes           Yes      Peter Scott            Renner      643 E Erie Street Milwaukee, WI 53202                                      Individual Ownership
28                        24         Yes           Yes      Richard                Lowe        31775 Bradley Ranch Rd Steamboat Springs CO 80487                                  Trust                           Richard B. Lowe Revocable Trust
29                                   Yes           Yes      Curt                   Weiss       940 Crawford Ave,PO Box 771818 Springs, CO. 80477
                          25                                                                                                                                     Joint Tenants with Rights of Survivorship           Curtis D and Mary C Weiss
30                                                          Mary C                 Weiss       940 Crawford Ave,PO Box 771818 Springs, CO. 80477
31                                   Yes           Yes      Thomas                 Kelly       1601 Harvard Dr Albuquerque, NM 81106
                          30                                                                                                                                     Joint Tenants with Rights of Survivorship
32                                                          Maureen                Kelly       1601 Harvard Dr Albuquerque, NM 81106                                                                         Thomas Brian Kelly & Baureen Keleher Kelly
33                        31         Yes           Yes      Ann                    Kelly       918 Magnolia St Denver CO 80220                                            Individual Ownership                             Ann M Kelly
34                                                          Allen /Elizabeth       Rundle      10965 Braddock Rd Culver City CA 90230
                                     Yes           Yes                                                                                                                    **Left Blank on Docs                   Allen Rundle and Elizabeth Rundle
35                        32                                Elizabeth              Rundle      10965 Braddock Rd Culver City CA 90230
36                        33         Yes           Yes      Sean                   Wood        202 Bear Drive Evergreen CO 80439                                          Individual Ownership                             Sean C. Wood
37                                                          Gary                   Watkins     14188 W 3rd Place Golden, CO 80401
                          34         Yes           Yes                                                                                                           Joint Tenants with Rights of Survivorship
38                                                          Suzanne                Watkins     14188 W 3rd Place Golden, CO 80401                                                                             Gary D. Watkins II, Suzanne M. Watkins
39                                                          Cynthia                Karet       522 Buena Vista Ct. Steamboat Springs CO 80487
                          35         Yes           Yes                                                                                                                    Individual Ownership                    Derek L Hodson Cynthia T. Karet
40                                                          Derek                  Hodson      471 Eagle Pointe Ct. Steamboat Springs CO 80487
41                        36         Yes           Yes      Jason (Wally)          Waldron     635 Old Sqaw Pass Rd Evergreen CO 80439                                            Trust                              Waldron Universal Ent, Ltd
42                        37         Yes           Yes      John                   Moyer       1625 Mid Valley Drive Unit 1 PMB 117 Steamboat Springs CO 80407            Individual Ownership                            John D. Moyer
43                                                          Cynthia E.             Morreale    2800 S University Blvd Denver CO 80210
                          38         Yes           Yes                                                                                                           Joint Tenants with Rights of Survivorship
44                                                          Herbert L.             Williams    2800 S University Blvd Denver CO 80210                                                                         Cynthia E. Morreale, Herbert L. Williams
45                        39         Yes           Yes      Fred                   Rundle      4613 241st SE Issaquah WA 98029                                            Individual Ownership                           Frederick D. Rundle
46                                                          Thomas                 Crews       9101 Harlan St Ste 215 Westmister, CO 80031
                          41         Yes           Yes                                                                                                                  Limited Liability Company                    Crest Breaker Capital, LLC
47                                                          Jacob                  Washer      12833 South Wamblee Valley Rd Conifer, CO 80433
48                        44         Yes           Yes      John                   Davie       2193 Arapahoe St, Apt 13 Denver, CO 80205                                  Individual Ownership                              John Davie
49                        45         Yes           Yes      Sheryl A.              McPhail     6963 E. Montana Place Denver CO 80224                                      Individual Ownership                           Sheryl A. McPhail
50                        46         Yes           Yes      Donna                  Bair        1568 Trail Creek Rd POBox 807 Idaho Springs, CO 80452                      Individual Ownership                             Donna M Bair
51                        47         Yes           Yes      Stacey                 Kirkland    26826 Evergreen Springs Rd Evergreen CO 80439                              Individual Ownership                           Stacey Jo Kirkland
52                        48         Yes           Yes      Stephanie              Copeland    345 Lincoln Ave, Suite 206 Steamboat Springs CO 80487                    Limited Liability Company                    4PF Rural COZ Fund II, LLC
53                        49         Yes           Yes      Steve                  Zezulak     1250 S. Buckley Rd Suite I‐286, Aurora, CO 80017                         Limited Liability Company                   Jordan‐Stephens Group, LLC
54                        50         Yes           Yes      Franklin (Chip)        Bair        1568 Trail Creek Rd POBox 807 Idaho Springs, CO 80452                      Individual Ownership                           Franklin W Bair Jr
55                        51         Yes           Yes      Jacob                  Mills       201 Breakwater Ave Cordova, AK 99574                                       Individual Ownership                             Jacob B Mills
56                                                          Gwynne                 Witte       2355 Morgan Ave N. Stillwater MN 55082
                          52         Yes           Yes                                                                                                           Joint Tenants with Rights of Survivorship
57                                                          Cynthia T              Olsen       PO Box 1663 Idaho Springs 80452                                                                                 Gwynne T. Witte and Cynthia T. Olson
58                      53           Yes           Yes      Rebecca                Cook        168 Raccoon Circle Evergreen CO 80439                                     Individual Ownership                            Rebecca Cook
59                    partner                               Mary Jane              Loevlie     PO Box 218, Idaho Springs, CO 80452                                                n/a                                  Mary Jane Loevlie
60                    partner                               Bryan                  McFarland   29025A Upper Bear Creek Rd, Evergreen, CO 80439                      Mighty Argo Denali Holdings, LLC                           LLC
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                           EXHIBIT B
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                               CONSTRUCTION LOAN AGREEMENT

           This Construction Loan Agreement is made as of January 20, 2021, by and between
    MIGHTY ARGO CABLE CAR, LLC, a Colorado limited liability company (“Borrower”),
    having its principal office at 1431 Miner Street, PO BOX 1201, Idaho Springs, Colorado 80452,
    and ARGO MILL SL LLC, a Delaware limited liability company, and its successors or assigns
    (“Lender”), whose mailing address is 2808 Fairmont Street, Suite 130, Dallas, Texas 75201.

                                              RECITALS:

           A.     Borrower owns fee simple title to that certain real property located in the County
    of Clear Creek, State of Colorado, as more particularly described in Exhibit A attached hereto
    (the “Premises”).

            B.   Borrower has applied to Lender for a construction loan for the purpose of paying
    the costs of constructing the Improvements (as hereinafter defined) and other related
    development costs approved by Lender, upon the terms and subject to the conditions set forth
    herein.

            NOW, THEREFORE, in consideration of the covenants and conditions herein contained,
    the parties agree as follows:

    1.        DEFINITIONS

              1.1    Definitions. As used herein, the following terms have the meanings set forth
    below:

              “Advance” means a disbursement of Loan proceeds.

           “Agreement” means this Construction Loan Agreement, as the same may be amended
    and supplemented as hereinafter provided.

             “Appraisal” means an appraisal that: (i) complies with Title XI of the Financial
    Institutions Reform Recovery and Enforcement Act of 1989, and the Uniform Standards of
    Professional Appraisal Practice; (ii) is in form and substance acceptable to Lender; and, (iii) has
    been prepared by an appraiser who has an MAI membership designation and is acceptable to
    Lender.

            “Authorized Representative of Borrower” means the person or persons designated by
    Borrower to submit Borrowing Requests on behalf of Borrower, and to take any and all actions
    on the part of Borrower under any of the Loan Documents.

              “Borrower” has the meaning given such term in the preamble to this Agreement.

          “Borrower’s Articles of Organization” means those certain Articles of Organization of
    Borrower, dated October 29, 2019, and filed with the Colorado Secretary of State on October 29,
    2019, pursuant to which Borrower has been formed, together with all modifications and
    amendments thereto.


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          “Borrower’s Operating Agreement” means that certain Operating Agreement of
    Borrower, dated as of August 27, 2020, together with all modifications and amendments thereto.

            “Budget” means a maximum budget for the Project, as modified from time to time
    pursuant to the terms of this Agreement. The budget and each modification thereof is to be
    approved by Lender. As of the date hereof the Budget is in the form of Exhibit B attached
    hereto.

           “Business Day” means a day of the year other than Saturdays, Sundays,
    and legal holidays on which Lender’s office located at 2808 Fairmont Street, Suite 130, Dallas,
    Texas 75201 is closed.

           “CC&Rs” means any covenants, conditions, restrictions, maintenance agreements or
    reciprocal easement agreements affecting the Premises or the Project.

           “Certificate of Substantial Completion” means a certificate in the form of
    AIA Form G-704, or in another format approved by Lender, executed by the Architect, Borrower
    and the General Contractor.

            “Certification of Non-Foreign Status” means an affidavit, signed under penalty of
    perjury by an authorized representative of Borrower, or if Borrower is a disregarded entity as
    defined in Treasury Regulation §1.1445-2(b)(2)(iii), the owner of the disregarded entity, stating
    (a) that Borrower or such owner is not a “disregarded entity”, “foreign corporation”, “foreign
    partnership”, “foreign trust”, or “foreign estate”, as those terms are defined in the Internal
    Revenue Code and the regulations promulgated thereunder, (b) Borrower’s or such owner’s U.S.
    employer identification number, and (c) the address of Borrower’s or such owner’s principal
    place of business. Such affidavit must be consistent with the requirements of the regulations
    promulgated under Section 1445 of the Internal Revenue Code, and must otherwise be in form
    and substance acceptable to Lender.

            “Change Orders” means any change in the Plans and Specifications, the General
    Contract or any Subcontracts relating thereto, the Construction Schedule, or any Subcontracts
    relating thereto, which change has been approved by (a) the Borrower, (b) the Lender (subject to
    Section 6.8), and (c) the General Contractor.

              “Closing Date” means the date of the Agreement.

              “Collateral” means all collateral described in the Loan Documents.

           “Completion Date” means on or before November 1, 2022, subject to adjustments due to
    force majeure events (not to exceed 90 days).

           “Completion Guaranty” means that certain Completion Guaranty of even date herewith
    executed by Guarantor.

          “Construction Contract” means any contract (other than the General Contract) relating
    to work performed or to be performed for the Improvements executed or to be executed by
    Borrower.

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           “Construction Contractor” means any contractor who is a party to a Construction
    Contract.

           “Construction Period” means that period of time commencing on the Closing Date and
    ending on the date the Improvements are Substantially Complete.

           “Construction Schedule” means a construction schedule in a form approved by Lender
    showing a trade-by-trade breakdown of the estimated periods of commencement and completion
    of construction of the Improvements.

              “County” means the County of Clear Creek, State of Colorado.

           “Debt Service Amount” means, with respect to determination of the Debt Service
    Coverage Ratio, the annualized payments of principal and interest that would be necessary to
    fully amortize an assumed loan with the following characteristics: (i) the principal amount is the
    Loan Amount on the date of calculation of the Debt Service Coverage Ratio, (ii) the amortization
    period is 30 years; and (iii) the actual Interest Rate in effect under the Note on the date of
    determination.

           “Debt Service Coverage Ratio” means the number determined by Lender obtained by
    dividing (i) the Net Operating Income for the previous twelve month period, by (ii) the Debt
    Service Amount for the previous twelve month period.

            “Deed of Trust” means a construction deed of trust and fixture filing, with assignment of
    rents and security agreement, executed by Borrower, as trustor, to the Public Trustee of the
    County of Clear Creek, Colorado, as trustee, and naming Lender, as beneficiary, creating a first
    lien on the Premises, the Improvements, and all other buildings, fixtures and improvements now
    or hereafter owned or acquired by Borrower and situated thereon, and all rights and easements
    appurtenant thereto, securing indebtedness in the amount of the Loan Amount, all in form and
    substance acceptable to Lender.

              “Default Interest Rate” has the meaning set forth in Section 2.4(c).

           “Environmental Indemnity” means that certain Environmental Indemnity Agreement of
    even date herewith executed by Borrower and Guarantor.

              “ESCO” means ESCO Construction Co.

          “ESCO General Contract” means that certain General Contractor Agreement dated
    August 1, 2020 between Borrower and ESCO and all associated Exhibits and Contract
    Documents, relating to the construction of the Improvements.

           “Event of Default” means the occurrence of any of the events listed in Section 7.1(a)
    and the expiration of any applicable notice and cure period provided in said Section.

              “First Extended Term” has the meaning set forth in Section 2.7.

              “First Principal Payment Date” has the meaning set forth in Section 2.5.

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            “Financing Statement” means a UCC-1 financing statement authorized by Borrower as
    debtor, in favor of Lender as secured party, and perfecting (to the extent that a security interest
    can be perfected by the filing of a UCC-1 financing statement under applicable law) Lender’s
    security interest in the Collateral now owned or hereafter acquired by Borrower, in form and
    substance satisfactory to Lender, to be filed in the Office of the Secretary of State of Colorado,
    and in such other offices for recording or filing such statements in such jurisdictions as Lender
    desires to perfect Lender’s security interest or reflect such interest in appropriate public records.

          “General Contract” means, collectively, the White General Contract, the Leitner
    General Contract, and the ESCO General Contract.

              “General Contractor” means, collectively, White, Leitner, and ESCO.

          “Governmental Authority” means any arbitrator, other private adjudicator, court,
    government or governmental authority (federal, state, local or foreign).

            “Gross Income” means all income of the Project of any type, including, without
    limitation, rents, forfeited security deposits, rent interruption insurance, actual Tenant
    reimbursements, and parking revenue.

              “Guarantor” means Mary Jane Loevlie.

           “Hard Costs” or “Direct Costs” means all costs incurred for labor performed in the
    construction of the Improvements and the materials incorporated into the Improvements.

           “Improvements” means the improvements constructed and to be constructed on the
    Premises, which will consist of a detachable gondola, upper landing system, lower landing and
    parking deck, all in accordance with the Plans and Specifications.

           “Initial Draw” means an amount approved by Lender. Subject to the terms and
    conditions hereinafter set forth, the proceeds of the Initial Draw may be used only for the
    payment of the Loan Fee, the payment of interest pursuant to Section 4.5, the payment of
    expenses, charges, costs and fees pursuant to Section 8.10, and the payment of such Hard Costs
    and Soft Costs as Lender, in its sole discretion, may specifically approve in writing or in the
    Budget.

           “Inspecting Architect” means Lender’s architect or such other third-party consultants
    employed by Lender for the purpose of, among other things, reviewing the Plans and
    Specifications, the quality and course of construction of the Project, the General Contract,
    the Construction Contracts, the Subcontracts and all Change Orders.

              “Interest Rate” has the meaning set forth in the Note.

              “Interest Reserve” has the meaning set forth in Section 4.10.

              “Leitner” means Leitner-Poma of America, Inc.



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           “Leitner General Contract” means that certain Agreement dated September 17, 2019 by
    and between Borrower (as successor to Argo Holdings, LLC) and Leitner and all associated
    Exhibits and Contract Documents, relating to the construction of the Improvements.

              “Lender” has the meaning given such term in the preamble to this Agreement.

              “Lien-Free Completion” means the satisfaction of all of the following conditions:

           (a)    Construction of the Improvements has been completed in accordance with the
    Plans and Specifications, free and clear of all mechanics’ liens and similar claims, and in
    accordance with all applicable governmental rules, regulations and requirements;

           (b)    Borrower has delivered to Lender evidence that all costs of construction have
    been paid, which evidence shall include such commercially reasonable lien waivers as Lender
    may require;

           (c)     Lender and Lender’s inspector have viewed and inspected the Project, and
    Lender’s inspector has provided Lender with a report satisfactory to Lender as the quality of
    construction and structural and mechanical soundness of the Improvements, and as to such other
    matters as Lender may reasonably require;

            (d)   Borrower has delivered to Lender a copy of a permanent certificate of occupancy
    for the Improvements;

           (e)     If required by Lender, Lender has received endorsements to the Title Insurance
    Policy in form and content satisfactory to Lender provided such endorsements may be obtained
    from the Title Company; and

            (f)    If required by Lender, Borrower has delivered to Lender certification by the
    architect for the Project that the Improvements have been completed in accordance with the
    Plans and Specifications.

           “Loan” means the loan from Lender to Borrower described in this Agreement in the
    principal amount of up to the Loan Amount.

            “Loan Amount” means the amount of up to $33,900,000.00, plus any sum in addition
    thereto advanced by Lender at its discretion in accordance with the Loan Documents.

              “Loan Documents” means the documents described in Section 3.1.

              “Loan Fee” means an amount equal to $678,000.00.

            “Loan Parties” or “Loan Party” means Borrower, Guarantor, and each other Person that
    is or hereafter becomes a party to any Loan Document.

           “Material Adverse Change” means any change in the assets, business, financial
    condition, operations, prospects, or results of operations of any Loan Party or any other event or
    condition that in the reasonable opinion of Lender (i) materially adversely affects the likelihood

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    of performance by any Loan Party of any of the Obligations, (ii) materially adversely affects the
    ability of any Loan Party to perform any of the Obligations, (iii) materially adversely affects the
    legality, validity, or binding nature of any of the Obligations or any lien securing any of the
    Obligations, or (iv) materially adversely affects the priority of any lien securing any of the
    Obligations.

              “Maturity Date” has the meaning as set forth in Section 2.3.

           “Net Operating Income” means the amount by which Gross Income of the Project
    exceeds Operating Expenses of the Project for the applicable period.

             “Operating Expenses” means all ordinary and normal expenses of operation of the
    Project for the prior twelve (12) month period, including, without limitation, property taxes and
    insurance premiums (as allocated to the Project on an annualized basis), utilities, repairs and
    maintenance, salaries and wages, capital replacements, commissions paid to any leasing agent,
    reasonable advertising and marketing expenses and four percent (4%) of Gross Income for the
    applicable period as an assumed management fee (or actual management fee if greater);
    excluding, however, depreciation, income or franchise taxes, and the amount of principal and
    interest paid with respect to the Loan.

          “Non-Recourse Carve Out Guaranty” means that certain Non-Recourse Carve Out
    Guaranty of even date herewith executed by Guarantor.

              “Note” means that certain Secured Promissory Note evidencing the Loan.

              “Obligations” means the obligations of the Loan Parties under the Loan Documents.

            “Permitted Exceptions” means the items defined in and listed on Exhibit C to the Deed
    of Trust.

           “Person” means any natural person, any unincorporated association, any corporation, any
    partnership, any joint venture, any trust, any limited liability company, any other legal entity, or
    any Governmental Authority.

            “Plans and Specifications” means the final plans and specifications for the construction
    of the Improvements, with evidence of appropriate governmental approvals shown thereon, as
    approved by Lender in its sole discretion and as changed from time to time pursuant to this
    Agreement.

           “Preliminary Title Report” means that certain commitment for title insurance, File No.
    100-N0030661-020-ST, dated December 29, 2020, and issued by the Title Company covering
    the Premises and showing all exceptions to title and accompanied by legible copies of all such
    recorded exceptions.

           “Premises” means that certain real property located in the County of Clear Creek, State
    of Colorado, as more particularly described on Exhibit A attached hereto.

              “Project” means the Improvements and the Premises.

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           “Project Costs” means the total, as shown on the Budget, of all costs, expenses and fees
    required to construct the Improvements in accordance with the Plans and Specifications, and
    operate the Project, including the Interest Reserve, until the Maturity Date.

           “Property Manager” means a property manager to be determined by Borrower after the
    Closing Date, and reasonably approved by Lender, or a successor property manager proposed by
    Borrower and approved by Lender in its reasonable discretion.

           “Retainage” means with respect to the General Contract, each Construction Contract
    and each Subcontract, five percent (5%) of (i) all Hard Costs and (ii) the cost of materials.
    Notwithstanding the foregoing, the following items are not subject to retainage: General
    Conditions, insurance, bonds (if applicable), Construction Manager’s Fee.

              “Second Extended Term” has the meaning set forth set forth in Section 2.7.

               “Soft Costs” or “Indirect Costs” means all costs designated as “Soft Costs” on the
    Budget.

            “Standard Lease Form” means the standard lease form for the leasing of space in the
    Project as approved by Lender prior to the execution of any Tenant Lease after the date hereof,
    which standard lease form must not be materially modified in any way without Lender’s prior
    written approval.

            “Stored Materials” means materials purchased or to be purchased by Borrower,
    the General Contractor or a Construction Contractor at the date of a request for disbursement,
    but not yet installed or incorporated into the Project.

           “Subcontract” means a contract relating to any work performed or to be performed for
    the Project executed or to be executed by General Contractor or a Construction Contractor with a
    Subcontractor.

          “Subcontractor” means any contractor who is a party to a Subcontract other than the
    General Contractor or a Construction Contractor.

           “Substantially Complete” or “Substantial Completion” means such time as Lender has
    approved the completed work under the General Contract and has received a Certificate of
    Substantial Completion.

           “Survey” means a current survey of the Premises prepared by a surveyor registered or
    licensed in the State of Colorado, which survey (i) is in form and substance satisfactory to
    Lender in Lender’s sole and absolute discretion and (ii) contains a certification is the form
    attached hereto as Exhibit E.

              “Tenant” means all persons or entities occupying space in the Improvements.

           “Tenant Lease” means a lease of, or other occupancy agreement with respect to, space in
    the Improvements.


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              “Title Company” means Fidelity National Title.

            “Title Insurance Policy” means a title insurance policy in the form of an American Land
    Title Association Loan Policy-2006 extended coverage (without revision, modification or
    amendment) issued by the Title Company, with coverage in an amount not less than the Loan
    Amount (without incremental coverage endorsements being required) and without any exception
    that limits coverage to disbursements made and approved by the Title Company, in form and
    substance reasonably satisfactory to Lender and containing such endorsements as Lender may
    reasonably require.

              “Transfer” has the meaning as set forth in the Deed of Trust.

            “Unconditional Lien Waiver and Release” means a written unconditional waiver and
    release of mechanic’s lien or bond rights in form and substance reasonably acceptable to Lender.

           “Unmatured Event of Default” means any event that with the giving of notice or the
    passage of time, or both, would constitute an Event of Default.

              “White” means White Construction Group.

           “White General Contract” means that certain AIA Document A133-2019, dated
    January ___, 2021 between Borrower and White and all associated Exhibits and Contract
    Documents, relating to the construction of the Improvements.

           1.2     Accounting Terms. For purposes of this Agreement, all accounting terms not
    otherwise defined herein or in the Recitals have the meanings assigned to them in conformity
    with generally accepted accounting principles consistently applied.

    2.        THE LOAN

           2.1    Agreement to Lend and Borrow. Subject to the terms and conditions of this
    Agreement, Lender agrees to lend to Borrower and Borrower agrees to borrow from Lender up to
    the Loan Amount. The Loan proceeds will be used for the financing, marketing, construction,
    completion and stabilization of the Project.

           2.2     Interest. Interest shall accrue and become due and payable in accordance with
    the terms of the Note. Interest on the Note is computed on a 365/360 basis; that is, by
    applying the ratio of the interest rate over a year of 360 days, multiplied by the outstanding
    principal balance, multiplied by the actual number of days the principal balance is
    outstanding. All interest payable under the Note is computed using this method. This
    calculation method results in a higher effective interest rate than the numeric interest rate
    stated in the Note. By executing below, Borrower hereby acknowledges and agrees to the
    calculation of the Interest Rate in accordance with a year of 360 days and acknowledges
    that calculation of interest in accordance with this Section will increase the Loan’s effective
    interest rate above the Interest Rate and Default Interest Rate, as applicable, stated in the
    Note.



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           2.3    Payment of Principal and Interest. The outstanding principal balance of the
    Loan, together with all unpaid accrued interest thereon, and all other amounts payable by
    Borrower with respect to the Note pursuant to the terms of any other Loan Document, shall be
    due and payable in accordance with the terms of the Note.

           2.4     Prepayment of Principal. Prepayment of the Loan shall be subject to the terms
    and conditions of the Note.

            2.5     Security Interest. As additional security for the Obligations, Borrower hereby
    pledges, assigns, transfers and grants to Lender a security interest in, a lien on and an express
    contractual right to set off against (or refuse to allow withdrawals from) all depository account
    balances, cash and any other property (tangible or intangible) of Borrower now or hereafter in
    the possession of Lender during the term of this Agreement, including, without limitation, (i) all
    amounts that are at any time be held in the Interest Reserve (whether held in an account or
    otherwise), (ii) all amounts deposited in the account for the deposit of Loan proceeds pursuant to
    Section 4.3(c), all operating accounts of Borrower, and all funds at any time placed therein, (iii)
    all amounts that might at any time be held by Lender pursuant to Section 4.10 and (iii) any other
    portion of the Loan that might at any time not have been advanced to Borrower. Lender may, at
    any time upon and during the occurrence of an Event of Default, after the expiration of any
    applicable cure rights of Borrower, set off funds against the Obligations, if the Obligations
    (including future payment installments) are then due or have been accelerated, all without any
    advance or contemporaneous notice or demand of any kind to Borrower, such notice and demand
    being expressly waived by Borrower. So long as any Event of Default exists, Lender shall have
    such rights with respect to all of such funds and property as are provided by applicable law and
    may apply such funds and property towards the satisfaction of the Obligations. No delay or
    omission of Lender in exercising any right to apply such funds or property shall impair any such
    right, or shall be construed as a waiver of, or acquiescence in, any Event of Default. At the
    request of Lender, Borrower shall execute and deliver from time to time such documents as may
    be necessary or appropriate, in Lender’s sole judgment, to assure Lender that it has a first priority
    perfected security interest in and lien on such funds and property.

              2.6    Security. Payment of the Note is secured by the following:

                     (a)    the Deed of Trust;

                     (b)    the Financing Statement;

                   (c)    the assignments of, and a first priority security interest in, the Plans and
    Specifications; the General Contract; the Construction Contracts; the agreement with the
    Property Manager; and, to the extent to which they may be assigned, all other rights, licenses,
    permits, franchises, authorizations, approvals and agreements relating to construction of the
    Project, or required for the use, occupancy or operation of the Project, including all grading,
    demolition, building and other governmental permits and entitlements to use.




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           2.7     Extensions. The Maturity Date of the Note and Loan Amount may be extended
    to January 20, 2025 as set forth in the Note (“First Extended Term”) and further extended to
    January 20, 2026 as set forth in the Note (“Second Extended Term”).

    3.        LOAN CLOSING; USE OF LOAN PROCEEDS

            3.1    Conditions Precedent. Lender’s obligation to make the Initial Draw and to
    perform the remainder of its obligations under this Agreement are expressly conditioned upon
    (i) Borrower’s satisfaction of all of the conditions set forth in Exhibit C; (ii) Borrower’s
    satisfaction of the conditions for disbursement set forth in Article 4 (as applicable);
    (iii) Borrower’s payment of the Loan Fee; (iv) the Title Company’s commitment to issue the
    Title Insurance Policy; and (v) Borrower’s delivery to Lender of the following documents, in
    form and content satisfactory to Lender, duly executed (and acknowledged where necessary) by
    the appropriate parties thereto:

                     (a)   This Agreement;

                     (b)   The Note;

                     (c)   The Deed of Trust, which will be duly recorded in the Official Records of
    the County;

                   (d)     The Financing Statement, which will be duly filed with the Colorado
    Secretary of State;

                     (e)   The Completion Guaranty;

                     (f)   The Non-Recourse Carve Out Guaranty;

                     (g)   The Environmental Indemnity;

                   (h)    The assignments of the General Contract, the Plans and Specifications,
    the Construction Contracts, the agreement with the Property Manager, and the other agreements,
    contracts, rights, permits, licenses, entitlements, authorizations, and franchises described in
    Section 2.12(d), and consents to such assignments where deemed appropriate by Lender; and

                     (i)   Such other documents that Lender may reasonably require.

             3.2    Conditions Precedent to Further Advances. Lender has no obligation to make
    any Advance, other than the Initial Draw, if any, until Borrower has provided Lender with
    satisfactory evidence that Borrower has paid from its own funds the difference between the total
    Project Costs shown on the initial Budget and the Loan Amount and/or prepaid any such
    difference, which equity amount is not less than $6,000,000.00. Lender acknowledges and agrees
    it has received greater than or equal to such equity amount from Borrower as of the effective date
    hereof. Any amounts deposited by Borrower with Lender pursuant to this provision will be
    disbursed in accordance with the terms of this Agreement for the payment of Hard Costs and
    Soft Costs prior to any further disbursement of Loan funds.


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          3.3     Use of Loan Proceeds. Subject to all of the terms and conditions of this
    Agreement, the proceeds of the Loan shall be used by Borrower as follows:

                  (a)    The portion of the Loan proceeds designated for “Interest Reserve” on the
    Budget shall be advanced by Lender in accordance with Section 4.10.

                  (b)    A portion of the Loan shall be used to pay the Loan Fee and certain costs
    and expenses incurred in connection with the Closing of the Loan, pursuant to Section 2.

                   (c)    The balance of the proceeds of the Loan shall be used by Borrower to pay
    a portion of the costs of constructing and operating the Improvements, in accordance with the
    Budget.

    4.        DISBURSEMENTS OF THE LOAN

              4.1    Use of Disbursements; Revision of the Budget.

                    (a)     Borrower will use disbursements of the Loan only for the payment of or
    reimbursement for Project Costs as shown on the Budget and approved by Lender pursuant to
    Sections 4.1(b) and 4.1(c), as such Project Costs are incurred by Borrower. Project Costs will be
    deemed to have been “incurred” by Borrower at the following times: (i) Hard Costs: when the
    labor has been performed or the materials have been supplied and incorporated into the Project,
    payment therefor has been requested by the contractor or supplier thereof, and such contractor or
    supplier is entitled thereto; and (ii) Soft Costs: when such costs have been paid or are due and
    payable and the services relating thereto have been rendered or the value thereof has been
    received by Borrower. Except as set forth in Section 4.9, Lender will have no obligation to make
    disbursements for Stored Materials. As of the date hereof, Project Costs consist of the total of all
    the costs, expenses and fees listed as “Hard Costs” or “Direct Costs” and “Soft Costs” or
    “Indirect Costs” on the Budget.

                    (b)    The Budget will be subject to revision from time to time as Lender may
    require or approve in accordance with this Section 4.1(b). Lender has the right, in its sole
    discretion, to increase or decrease the allocation to the contingency, interest reserve and tax
    reserve categories and except for those items approved in the Budget, to determine whether any
    additional item of cost, expense or fee for which Borrower requests a disbursement constitutes a
    Project Cost and to which category such cost, expense or fee will be applied. The maximum
    amount that Lender is obligated to disburse for any item of Project Costs will not exceed the
    amount designated for such category on the Budget as it may be amended from time to time by
    Lender pursuant to the last preceding sentence.

                 (c)     All modifications to the Budget will be evidenced by a new Budget
    approved by Lender in its sole discretion.

                  (d)     Notwithstanding the foregoing, Borrower shall not be entitled to reallocate
    any amount allocated to the Interest Reserve without Lender’s prior approval, which may be
    withheld in Lender’s sole discretion.



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              4.2    Requests for Disbursements.

                  (a)    Borrower may request disbursements of the Loan not more frequently than
    monthly unless otherwise agreed to by Lender or in the case of an emergency. Each request for
    disbursement shall be accompanied by a Request for Loan Advance form attached hereto as
    Exhibit D, which shall be properly completed and signed by an Authorized Representative of
    Borrower, and approved by such persons as Lender may direct. In addition to the Request for
    Loan Advance, for each request for disbursement, Borrower shall deliver to Lender the
    following:

                             (i)   An itemized project budget spreadsheet, including columns for
                     original Budget, reallocations permitted under this Agreement, previously drawn
                     amounts and current draw amounts;

                               (ii)   A current Change Order log or similar evidence of pending Change
                     Orders;

                            (iii) AIA Form G702 and Form G703 Pay Application as submitted by
                     the General Contractor and approved by Borrower and Borrower’s architect;

                               (iv)   A vendor payee list;

                             (v)    Change Order and line item transfer request forms as applicable to
                     the current request for disbursement; provided, that Change Orders shall be
                     subject to Lender’s approval in accordance with Section 6.8 of this Agreement.

                    (b)     Lender will fund each approved requisition within ten (10) Business Days
    following receipt of all supporting instruments and documents which Lender may require. In
    connection with Advances, Lender may require on-site inspections and a review of construction
    (i) to verify percentage of completion and the estimated cost to complete the Improvements,
    and (ii) to certify disbursement requests. Any such inspections will be for the sole use and
    benefit of Lender, and neither Borrower nor any third party may be entitled to rely thereon for
    any purpose. As provided in Section 8.9, Lender will be reimbursed for its reasonable costs in
    connection with such requisitions.

                    (c)     Each requisition thereby constitutes, without the necessity of specifically
    containing a written statement, a representation and warranty by Borrower with respect to the
    item for which payment is requested that (i) if the item is work or materials, it has been
    physically incorporated into or stored on the Premises, free of all liens and encumbrances (except
    for those to be discharged in full with the proceeds of the requested advance), (ii) the item is
    included in the Budget, (iii) the cost of the item is as specified in the requisition and Budget (or if
    not, that Borrower has paid any excess), (iv) the work, materials or other item substantially
    conforms to the Plans and Specifications and all applicable statutes, laws, ordinances,
    administrative rules, regulations and other legal requirements, (v) the item has been approved by
    all zoning, building and other governmental officers, offices or departments having jurisdiction
    and whose approval is required, and (vi) to Borrower’s actual knowledge, without duty of
    inquiry, the representations and warranties of Borrower contained in this Agreement are true and
    correct in all material respects as if made on the date of the request for disbursement.
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              4.3    Amount of and Conditions to Disbursements.

                     (a)    Borrower will not be entitled to any Advance unless:

                             (i)    If the costs set forth in the General Contract are less than the
                     construction costs previously reviewed and approved by Lender, Lender, at its
                     option, will have the right to reduce the Loan Amount by the amount of any such
                     reduction or reallocate the amount of any such reduction to the hard cost
                     contingency line item set forth in the Budget;

                             (ii)   the representations and warranties as specified in Section 4.2(b)
                     are true and correct in all material respects at the date of the Advance;

                           (iii)   the costs set forth in all prior requisitions have been duly paid by
                     Borrower;

                             (iv)    the Title Company issues to Lender, at Borrower’s expense, the
                     endorsements to the Title Policy as may be required by Lender, including, without
                     limitation, the foundation endorsements described in Section 4.6;

                            (v)     Borrower shall have furnished to Lender (1) copies of all invoices
                     and Conditional Lien Waivers and Releases covering work completed and/or
                     materials furnished in connection with the pending request for Advance, and (2)
                     copies of receipts for the payment of bills and copies of Unconditional Lien
                     Waivers and Releases covering work completed and/or materials furnished in
                     connection with the work which was to have been paid from the prior
                     disbursement;

                            (vi)   no Event of Default exists under this Agreement or any of the other
                     Loan Documents nor any event exists which, with the giving of notice or the
                     passage of time, or both, would constitute an Event of Default hereunder or
                     thereunder;

                            (vii) Lender has received and approved true, correct and complete
                     copies of all Construction Contracts and, if required by Lender, Subcontracts
                     executed since the last disbursement and not previously delivered to Lender, all
                     construction bonds on those Construction Contracts and Subcontracts which have
                     been obtained by such Construction Contractor or the General Contractor, and all
                     Change Orders as required under Section 6.8 not previously delivered to Lender;

                            (viii) Lender has completed its inspection pursuant to Section 4.2(a);

                            (ix)   the Loan is “in balance” as required in Section 4.4;

                             (x)   Borrower has satisfied the conditions of Section 4.9 with respect to
                     the disbursement of Retainage (if applicable); and



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                            (xi)   Borrower has satisfied the conditions in Section 4.8 with respect to
                     a disbursement for Stored Materials (if applicable);

                            (xii)   the costs are within the amount recommended by the Inspecting
                     Architect;

                           (xiii) if the Improvements have been damaged by fire or other casualty,
                     Lender has received insurance proceeds sufficient in the reasonable judgment of
                     Lender to effect the restoration thereof and to permit the completion of the
                     Improvements on or before the Completion Date; and

                             (xiv) there are no liens outstanding against the Project, or matters
                     affecting title to the Premises, other than the lien of the Deed of Trust and the
                     Permitted Exceptions. Notwithstanding the foregoing, Borrower shall be entitled
                     to bond around any such liens and in such case shall be entitled to any Advance
                     provided all additional conditions set forth above are satisfied.

            Provided that the foregoing conditions are satisfied, Lender will disburse (within the
    period set forth in Section 4.2(a)), the amount of the Advance requested by Borrower, which
    amount will not exceed the difference between (A) the cost of construction work in place,
    disbursements for Stored Materials, if any, and any other costs, expenses and fees actually paid
    or payable by Borrower for approved Project Costs as of the date of the request for a
    disbursement, and (B) any required Retainage and any amounts previously disbursed hereunder.
    Notwithstanding the foregoing, Lender may, in its discretion, make disbursements of the Loan
    prior to Borrower’s satisfying all of the conditions to the Initial Draw for the payment of,
    or reimbursement for, such Hard Costs and Soft Costs as are approved by Lender, provided that
    Borrower provides Lender with such documents and materials regarding such disbursements as
    Lender in its sole discretion may require.

                  (b)     Each disbursement for Direct Costs is subject to the Retainage, which will
    be disbursed upon satisfaction of the conditions in Section 4.9.

                  (c)   Lender will deposit the Loan proceeds in a deposit account maintained by
    Borrower with Lender designated for such purpose.

              4.4    Loan Balancing.

                    (a)    As a material condition of the Loan and as a condition precedent to
    Lender’s duty to disburse proceeds of the Loan, Borrower must pay all Project Costs in excess of
    the Loan Amount. Except for the payment of interest pursuant to Section 4.5 and the payment of
    expenses, charges, costs and fees pursuant to Section 8.10, Lender is obligated to disburse
    proceeds of the Loan only when the Loan is “in balance”. The Loan is “in balance” only at such
    times as Borrower has invested sufficient funds into the payment of Project Costs so that, in
    Lender’s sole judgment, the undisbursed portion of the Loan is sufficient to complete and
    operate fully the Project and pay all Project Costs (including interest reserve) until repayment in
    full of the Loan.



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                   (b)     The determination as to whether or not the Loan is “in balance” may be
    made by Lender at any time, including with each request for a disbursement of the Loan. Project
    Cost categories listed as “contingencies” on the Budget will be deemed to be Project Costs for
    purposes of loan balancing.

                   (c)    Borrower must within ten (10) days after notice from Lender that the Loan
    is not “in balance”, deposit with Lender, in cash, the amount necessary to put the Loan “in
    balance”. No interest will be paid by Lender on such deposited funds. Any amounts deposited
    by Borrower with Lender pursuant to this provision will be disbursed in accordance with the
    terms of this Agreement for the payment of Hard Costs and Soft Costs prior to any further
    disbursement of Loan funds.

              4.5    Reserved.

           4.6     Foundation Endorsement. Upon completion of the construction of any
    foundation on the Premises, and as a condition precedent to any further disbursements under this
    Agreement provided that the Title Company can issue the requested foundation endorsement,
    Borrower must (if required by Lender), at Borrower’s own cost and expense, deliver or cause to
    be delivered to Lender a foundation endorsement with respect to each such foundation, in form
    and substance reasonably satisfactory to Lender, to be attached to the Title Insurance Policy,
    which endorsement will insure that such foundation is within the boundary lines of the Premises,
    does not violate any applicable covenants, conditions, restrictions or agreements affecting the
    Premises which are referred to in the Title Insurance Policy, and does not encroach upon any
    easements, rights or rights-of-way affecting or covering the Premises.

           4.7    Loan Fee. Borrower must pay to Lender on the Closing Date the Loan Fee,
    which is now fully earned by Lender. Borrower hereby authorizes Lender to disburse proceeds
    of the Loan to pay all or any portion of the Loan Fee notwithstanding that Borrower may not
    have requested a disbursement of such amount. The authorization herein granted is irrevocable
    and no further direction or authorization from Borrower will be necessary to make such
    disbursement. Any such disbursement will be added to the outstanding principal balance of the
    Note.

              4.8    Stored Materials.

                    (a)    Lender has the right to approve or disapprove specifically, in its sole
    judgment, all disbursements for Stored Materials. Without limiting Lender’s approval rights as
    set forth in the preceding sentence, Lender will not approve disbursements for Stored Materials
    until Borrower complies with the conditions set forth in Section 4.8(b).

                    (b)     As a condition precedent to the disbursement for Stored Materials,
    Borrower must supply to Lender: (i) evidence satisfactory to Lender that the Stored Materials are
    included in the coverage of the insurance policies required by Section 6.19; (ii) evidence
    satisfactory to Lender from the seller or fabricator of the Stored Materials that, upon payment,
    ownership thereof will vest in Borrower free of any liens or claims of third parties;
    (iii)(A) evidence satisfactory to Lender that the Stored Materials are satisfactorily stored on the
    Premises to protect against theft or damage, or (B) if the Stored Materials are not stored on the

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    Premises, (1) evidence satisfactory to Lender that the Stored Materials are stored in a bonded
    warehouse or storage yard approved by Lender, and the warehouse or yard has been notified that
    Lender has a security interest in the subject Stored Materials, and (2) Lender has received from
    Borrower the original warehouse receipt. With Lender’s prior written approval, Stored Materials
    may be stored in the yard or warehouse of the seller or fabricator, subject to satisfaction of
    conditions (i) and (ii) in this Section 4.8(b), and provided further that Lender receives
    satisfactory evidence that the Stored Materials are protected against theft or damage, have been
    suitably identified as belonging to Borrower for use in the Project and that such seller or
    fabricator has been notified of the security interest of Lender therein.

            4.9     Retainage Under any Construction Contracts and the General Contract.
    Retainage under a Construction Contract or the General Contract, as applicable, will be released
    upon Borrower’s delivery of the requisition documents described in Section 4.2 and Borrower’s
    satisfaction of the conditions set forth in Section 4.3 and the following applicable conditions:

                   (a)    With respect to any retainage under the General Contract, the Project is
    Substantially Complete. Substantial Completion will be deemed to have occurred despite the
    existence of punch-list items that require correction or completion, as determined by the Lender
    and the Inspecting Architect and as approved by Lender; provided, however, that if punch-list
    items exist upon Substantial Completion, Lender will have the right to withhold an amount equal
    to one hundred fifty percent (150%) of the cost to complete all such punch-list items. The
    punch-list holdback will be disbursed upon lien-free completion of the punch-list items and
    approval thereof by the Lender and the Inspecting Architect;

                   (b)     Lender has received (1) an Unconditional Lien Waiver and Release (upon
    progress payment) from the General Contractor, each Construction Contractor and each
    Subcontractor covering the full amount of the disbursement for Direct Costs through the date of
    the previous disbursement request, and (2) an Unconditional Lien Waiver and Release (upon
    final payment) from each Construction Contractor and each Subcontractor who had completed
    the work covered by its Construction Contract or Subcontract, respectively, as of the previous
    disbursement request, covering the full amount due such Construction Contractor or
    Subcontractor, as the case may be;

                   (c)     With respect to the final release of Retainage under the General Contract,
    Lender has received appropriate approvals from (1) all Governmental Authorities regarding
    completion of the shell and core of the Improvements, which approvals must be evidenced by an
    irrevocable certificate of occupancy for the Improvements to the extent such approval is a
    condition to the lawful use and occupancy; (2) the local board of fire underwriters or its
    equivalent; and (3) all other Governmental Authorities having jurisdiction over the contemplated
    uses, operation and occupancy of the Project;

                   (d)   Borrower has submitted to Lender copies of all licenses, permits and
    agreements necessary for the use, operation and occupancy of the Project not previously
    delivered to Lender;

                   (e)     If required by Lender, Borrower has provided to Lender, an ALTA as-
    built survey or other satisfactory evidence showing that (i) the Improvements have been built in

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    accordance with the Plans and Specification and do not encroach on any easement or public or
    private right of way, (ii) the Improvements have been constructed within the boundaries of the
    Premises; and (iii) the Improvements have been constructed within the setback lines as required
    by applicable zoning ordinances and do not encroach upon any other lot or other property;

                 (f)     Borrower has provided to Lender “as-built” Plans and Specifications of
    the Improvements, showing the final specifications of all Improvements;

                   (g)     If required by Lender, Borrower has provided to Lender a warranty book,
    together with all guaranties and maintenance agreements, etc., on all Improvements;

                   (h)    If required by Lender, Borrower has provided to Lender executed
    AIA Form G706 (Contractor’s Affidavit of Payments of Debts), AIA Form G706A (Contractor’s
    Affidavit of Release of Liens), and AIA Form G707 (Consent of Surety of Final Payment);

                  (i)     If required by Lender, Borrower has provided to Lender executed
    AIA Form G704 or other document satisfactory to Lender by the Inspecting Architect,
    the General Contractor and Borrower;

                  (j)   If requested by Lender, a notice of completion on Lender’s approved form
    executed by Borrower and duly recorded in the Official Records of the County;

                  (k)     Borrower has provided to Lender satisfactory evidence of continuing
    insurance coverage in accordance with Section 6.19;

                   (l)     Borrower submits a certified copy of the final project report as prepared
    by the architect/engineer providing final inspection for the Project; and

                    (m)    Such other documentation, including, but not limited to, endorsements to
    the Title Insurance Policy, as Lender may reasonably require.

            4.10 Reserves. In addition to any reserves for specific line items that are already
    established in the Budget, Lender may establish and set aside out of the undisbursed proceeds of
    the Loan, reserves (collectively, the “Loan Reserves”) in such amounts as may be reasonably
    estimated by Lender from time to time to provide for payment of the items of Project Cost as the
    same may accrue or become payable prior to the repayment in full of the Loan. Amounts set
    aside as Loan Reserves shall not be available for disbursement to Borrower for any purpose other
    than payment of the item or group or items for which the Loan Reserve was established. Based
    upon the facts then available to Lender, Lender may adjust and reallocate the amount of any
    Loan Reserves from time to time. Items for which Loan Reserves may be established shall
    include (i) Loan Expenses, (ii) interest on the Loan, (iii) real estate taxes and assessments, (iv)
    premiums on insurance policies and bonds (if any) required to be furnished by Borrower
    hereunder, (v) contingencies, (vi) construction and soft cost contingencies, (vii) lease-up deficit,
    and (viii) capital reserves. Borrower hereby acknowledges that Lender has established and set
    aside out of the Loan, an interest reserve (the “Interest Reserve”) in the amount of $1,442,997.00
    for the payment of interest on the Loan as the same may accrue or become payable prior to the
    repayment in full of the Loan. Amounts set aside as the Interest Reserve shall not be available
    for disbursement to Borrower for any purpose other than payment of interest. Disbursement of

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    the Interest Reserve shall be made to pay the interest on the Loan from the Closing Date until
    Extended Term. Interest Reserves shall be fully earned by Lender at Closing. Notwithstanding
    anything to the contrary contained herein, Borrower shall not be required to pay interest on the
    Interest Reserve unless funds are disbursed from such Interest Reserve to Borrower. Further,
    Borrower shall be required to establish a certain reserve account (the "Replacement Reserve") for
    capital expenditures and expenses. Commencing on the Completion Date, Borrower shall fund
    the Replacement Reserve by making monthly deposits (no later than the tenth (10th) day of each
    month/) to such account equal to an amount mutually agreed to by Lender and Borrower upon
    the establishment of the Replacement Reserve. Amounts set aside as the Replacement Reserve
    shall not be available for disbursement to Borrower for any purpose other than as set forth
    herein, and prior to any proposed disbursement from the Replacement Reserve, Borrower shall
    provide evidence reasonably sufficient to Lender that such proposed disbursement is in
    compliance with this Agreement. Further, Borrower shall be required to establish an escrow
    account with Lender for property taxes and Insurance (the "Tax and Insurance Escrow") and
    Borrower agrees to begin funding said escrow account on a monthly basis upon Construction
    Completion by remitting payment to Lender on monthly basis (on the same date on which
    regular payments of interest or principal and interest, as the case may be, are due under the Note)
    in an amount equal to 1/12 of the estimated property taxes and insurance for the Premises as
    determined by Lender in its reasonable discretion. Further, if Lender reasonably determines that
    Borrower is not maintaining the Premises as required herein, in addition to all of Lender’s other
    remedies, Lender may require Borrower to pay into a non-interest bearing reserve account (the
    “Maintenance Reserve Account”) an amount reasonably estimated by Lender to be sufficient to
    enable Borrower to maintain the Premises If required by Lender, such amount shall be payable
    in advance on the day monthly installments are payable under the Note and in addition to any
    other sums due under the Indebtedness and shall be subject to adjustment, up or down, annually
    on the anniversary of the date hereof by Lender in Lender’s reasonable discretion. The
    Maintenance Reserve Account shall be under Lender’s sole control. The Maintenance Reserve
    Account and all funds on deposit therein shall be additional security for the Indebtedness.
    Lender shall make disbursements from the Maintenance Reserve Account for maintenance of the
    Premises, or as otherwise provided by this Loan Agreement, at Lender’s sole discretion;
    provided however that, so long as no Event of Default exists, Lender will not unreasonably
    withhold reimbursement to Borrower out of the Maintenance Reserve Account for amounts
    expended by it to maintain the Premises in the manner reasonably acceptable to Lender.

    5.        REPRESENTATIONS AND WARRANTIES

           5.1     Consideration. As an inducement to Lender to execute this Agreement and to
    disburse the proceeds of the Loan, Borrower represents and warrants to Lender that the following
    statements set forth in this Article 5 are true, correct and complete as of the date hereof to
    Borrower’s actual knowledge, without duty of inquiry or investigation, and will be true, correct
    and complete to Borrower’s actual knowledge, without duty of inquiry or investigation, as of the
    Closing Date.

              5.2    Organization, Powers and Good Standing.

                  (a)    Organization and Powers. Borrower is a limited liability company,
    duly organized and validly existing under the laws of the State of Colorado and is qualified to

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    transact business in the State of Colorado. Borrower has all requisite power and authority, rights
    and franchises to own and operate its properties, to carry on its businesses as now conducted and
    as proposed to be conducted, and to enter into and perform this Agreement and the other
    Loan Documents. Borrower’s correct legal name is “Mighty Argo Cable Car LLC” and its
    Colorado Corporation Commission file number is 20191868056. The address of the Borrower’s
    principal office street address is 1431 Miner Street, Idaho Springs, Colorado 80452.

                   (b)     Good Standing. Borrower has made all filings and is in good standing in
    the State of Colorado and in each other jurisdiction in which the character of the property it owns
    or the nature of the business it transacts makes such filings necessary or where the failure to
    make such filings could have a materially adverse effect on the business, operations, assets or
    condition (financial or otherwise) of Borrower.

                    (c)    Non-Foreign Status. Borrower, or if Borrower is a disregarded entity as
    defined in Treasury Regulation §1.1445-2(b)(2)(iii), the owner of the disregarded entity, is not a
    “disregarded entity”, “foreign corporation”, “foreign partnership”, “foreign trust”, or “foreign
    estate”, as those terms are defined in the Internal Revenue Code and the regulations promulgated
    thereunder. Borrower’s or such owner’s U.S. employer identification number is as set forth in
    the Certification of Non-Foreign Status.

              5.3    Authorization of Loan Documents.

                   (a)    Authorization. The execution, delivery and performance of the Loan
    Documents by Borrower are within Borrower’s powers and have been duly authorized by all
    necessary action by Borrower.

                   (b)     No Conflict. The execution, delivery and performance of the Loan
    Documents by Borrower will not violate (i) Borrower’s articles of organization and operating
    agreement; (ii) any legal requirement affecting Borrower or any of its properties; or (iii) any
    agreement to which Borrower is bound or to which it is a party and will not result in or require
    the creation (except as provided in or contemplated by this Agreement) of any lien upon any of
    such properties.

                   (c)     Governmental and Private Approvals. All governmental or regulatory
    orders, consents, permits, authorizations and approvals required for the construction, use,
    occupancy and operation of the Improvements have been or will be obtained and are or will be in
    full force and effect. No additional governmental or regulatory actions, filings or registrations
    with respect to the Improvements, and no approvals, authorizations or consents of any trustee or
    holder of any indebtedness or obligation of Borrower are required for the due execution, delivery
    and performance by Borrower of the Loan Documents.

                    (d)    Binding Obligations. This Agreement and the other Loan Documents
    have been duly executed by Borrower, and are legally valid and binding obligations of Borrower,
    enforceable against Borrower in accordance with their terms, except as enforceability may be
    limited by bankruptcy, insolvency, reorganization, moratorium or similar laws affecting
    creditors’ rights generally and by general principles of equity.



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             5.4    No Material Defaults. There exists no material violation of or material default
    by Borrower and, to the best knowledge of Borrower, no event has occurred which, upon the
    giving of notice or the passage of time, or both, would constitute a material default with respect
    to (a) the terms of any instrument evidencing or securing any indebtedness of Borrower, (b) any
    lease or other agreement affecting the Project, (c) any license, permit, statute, ordinance, law,
    judgment, order, writ, injunction, decree, rule or regulation of any Governmental Authority, or
    any determination or award of any arbitrator to which Borrower or the Project may be bound, or
    (d) any mortgage, instrument, agreement or document by which Borrower, or any of its
    properties is bound.

              5.5    No Material Adverse Change. No Material Adverse Change has occurred.

            5.6     Litigation; Adverse Facts.           There is no action, suit, investigation,
    proceeding or arbitration (whether or not purportedly on behalf of the Borrower) at law or in
    equity or before or by any foreign or domestic court or other governmental entity (a “Legal
    Action”), pending or, to the knowledge of Borrower, threatened against or affecting Borrower or
    any of its assets which could reasonably be expected to result in any Material Adverse Change in
    the business, operations, assets (including the Project) or condition (financial or otherwise) of
    Borrower or would materially and adversely affect Borrower’s ability to perform its obligations
    under the Loan Documents. There is no basis known to Borrower for any such action, suit or
    proceeding. Borrower is not (a) in violation of any applicable law which violation materially and
    adversely affects or may materially and adversely affect the business, operations, assets
    (including the Project) or condition (financial or otherwise) of Borrower, (b) subject to, or in
    default with respect to any other legal requirement that would have a materially adverse effect on
    the business, operations, assets (including the Project) or condition (financial or otherwise) of
    Borrower, or (c) in default with respect to any agreement to which Borrower is a party or to
    which it is bound, which default materially and adversely affects or may materially and
    adversely affect the business, operations, assets or condition (financial or otherwise) of Borrower
    or the Project. There is no Legal Action pending or, to the knowledge of Borrower, threatened
    against or affecting Borrower questioning the validity or the enforceability of this Agreement or
    any of the other Loan Documents.

            5.7    Title to Properties; Liens. Borrower has good, sufficient and legal title to all
    properties and assets reflected in its most recent balance sheet delivered to Lender, except for
    assets disposed of in the ordinary course of business since the date of such balance sheet.
    Borrower is the sole owner of, and has good and marketable title to the fee interest in the
    Premises, the Improvements, and all other real property described in the Deed of Trust, free from
    any adverse lien, security interest or encumbrance of any kind whatsoever, excepting only
    (a) liens and encumbrances shown on the Preliminary Title Report, (b) liens and security
    interests in favor of Lender, and (c) other matters which have been approved in writing by
    Lender.

            5.8    Disclosure. There is no fact known to Borrower that materially and adversely
    affects the business, operations, assets or condition (financial or otherwise) of Borrower which
    has not been disclosed in this Agreement or in other documents, certificates and written
    statements furnished to Lender in connection herewith.


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           5.9    Payment of Taxes. All tax returns, extension filings, and reports of Borrower
    required to be filed by Borrower have been timely filed, and all taxes, assessments, fees and
    other governmental charges upon Borrower and upon its properties, assets, income and
    franchises which are due and payable have been paid when due and payable. Borrower knows of
    no proposed tax assessment against it that would be material to the condition (financial or
    otherwise) of Borrower, and Borrower has not contracted with any government entity in
    connection with such taxes.

            5.10 Securities Activities. Borrower is not engaged principally, or as one of its
    important activities, in the business of extending credit for the purpose of purchasing or carrying
    any margin stock (as defined within Regulations G, T and U of the Board of Governors of the
    Federal Reserve System), and not more than twenty-five percent (25%) of the value of
    Borrower’s assets consists of such margin stock. No part of the Loan will be used to purchase or
    carry any margin stock or to extend credit to others for that purpose or for any other purpose that
    violates the provisions of Regulations U or X of said Board of Governors. No portion of the
    Loan may be used directly or indirectly to purchase ineligible securities, as defined by applicable
    regulations of the Federal Reserve Board, underwritten by any affiliate of Lender during the
    underwriting period and for thirty (30) days thereafter.

             5.11 Government Regulations. Borrower is not subject to regulation under the
    Investment Company Act of 1940, the Federal Power Act, the Public Utility Holding Company
    Act of 1935, the Interstate Commerce Act or to any federal or state statute or regulation limiting
    its ability to incur indebtedness for money borrowed.

            5.12 Rights to Project Agreements, Permits and Licenses. Borrower is the true
    owner of all rights in and to all existing agreements, permits and licenses relating to the Project,
    and will be the true owner of all rights in and to all future agreements, permits and licenses
    relating to the Project. Borrower’s interest in all such agreements, permits and licenses is not
    subject to any present claim (other than under the Loan Documents or as otherwise approved by
    Lender in its discretion), set-off or deduction other than in the ordinary course of business.

            5.13 Utilities and Access. Telephone services, electric power, storm sewers,
    sanitary sewer, potable water facilities and all other utilities and services necessary for the
    construction, use, operation and maintenance of the Improvements are available or will be
    available to the Premises, are or will be adequate to serve such improvements, and are not
    subject to any conditions limiting the use of such utilities, other than normal charges to the utility
    supplier. All streets and easements necessary for the operation and maintenance of the
    Improvements are or will be available to the boundaries of the Premises.

           5.14 Compliance with Laws. The Improvements and the Premises, and the uses to
    which the Improvements and the Premises are and will be put, comply fully with such applicable
    laws and restrictive covenants.

            5.15 Financial Condition. The financial statements and all financial data previously
    delivered to Lender in connection with the Loan and/or relating to Borrower and Guarantor are
    true, correct and complete in all material respects. Such financial statements comply with the
    requirements of Section 6.12 and fairly present the financial position of the parties who are the

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    subject thereof as of the date thereof. No Material Adverse Change has occurred in such
    financial position and, except for this Loan, no borrowings have been made by Borrower since
    the date thereof.

          5.16 Personal Property. Borrower is now and will continue to be the sole owner of
    the Collateral free from any adverse lien, security interest or adverse claim of any kind
    whatsoever, except for liens or security interests in favor of Lender.

           5.17 No Condemnation. No condemnation proceedings or moratorium is pending or,
    to Borrower’s knowledge, threatened against the Project or the Premises (or any portion thereof)
    which would impair the use, occupancy or full operation of the Project in any manner
    whatsoever.

           5.18 Other Loan Documents. Each of the representations and warranties of Borrower
    contained in any of the other Loan Documents is true and correct in all material respects. All of
    such representations and warranties are incorporated herein for the benefit of Lender.

           5.19 Lender Knowledge. In the event that the Lender actually knows that Borrower is
    in default of any of the representations and warranties described in this Article 5 prior to the
    Closing Date and otherwise proceeds to close on the Loan, Borrower or Guarantor shall not be
    deemed in default under the Loan Documents.

    6.        COVENANTS OF BORROWER

           6.1   Consideration. As an inducement to Lender to execute this Agreement and to
    make each disbursement of the Loan, Borrower hereby covenants as set forth in this Article 6,
    which covenants will remain in effect so long as the Note remains unpaid.

            6.2     No Encumbrances. Borrower will not permit any lien, levy, attachment or
    restraint to be made or filed against the Project, or any portion thereof, or permit any receiver,
    trustee or assignee for the benefit of creditors to be appointed to take possession of the Project or
    any portion thereof, except for lien claims filed or asserted against the Premises or the Project
    and concerning which Borrower is in full compliance with the provisions of Section 6.10.
    Borrower will not encumber the Project or any portion thereof or any personal property owned
    by it and used in connection with the use, occupancy or operation of the Project in any way,
    including the Collateral, without the prior written consent of the Lender.

             6.3    Compliance with Laws. Borrower will comply and, to the extent it is able,
    will require others to comply with all laws and requirements of all Governmental Authorities
    having jurisdiction over the Premises or construction of the Improvements and will furnish
    Lender with reports of any official searches for violation of any requirements established by such
    Governmental Authorities. Borrower will comply and, to the extent it is able, will require others
    to comply with applicable CC&Rs and all restrictive covenants and all obligations created by
    private contracts and leases which affect ownership, construction, equipping, fixturing, use or
    operation of the Project. The Improvements, when completed, will comply with all applicable
    building, zoning and use laws, requirements, regulations and ordinances and will not violate any
    restrictions of record against the Premises or the terms of any lease of all or any portion of the
    Premises.
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            6.4     Lender Inspections. Throughout the term of the Loan and during normal
    business hours, subject to the rights of the General Contractor and upon not less than twenty four
    (24) hours written notice, Borrower will permit Lender and Lender’s representatives, inspectors
    and consultants to enter upon the Premises, to inspect the Improvements and materials to be used
    therein, to audit, examine and copy all contracts, records (including, but not limited to, financial
    and accounting records pertaining to the Loan or the Project), plans and shop drawings which are
    kept at the construction site or at Borrower’s offices, and to discuss the affairs, finances and
    accounts of Borrower with representatives of Borrower. Borrower will cooperate with and will
    cause the General Contractor, Construction Contractors and Subcontractors to cooperate with
    any such representatives, inspectors or consultants retained by Lender pursuant to Section 8.9 to
    enable them to perform their functions under this Agreement. Borrower will have the General
    Contractor maintain and make available for inspection by Lender or its representatives on
    demand, daily log sheets covering the period since the immediately preceding inspection, which
    log sheets shows dates, weather conditions, number of workers, Construction Contractors and
    Subcontractors on the job and the progress of construction. The inspection fee amount as set
    forth in the Approved Budget is non-refundable and shall be fully earned by Lender at Closing.

              6.5    Commence and Continue Construction.

                   (a)     Except as otherwise disclosed to Lender, Borrower represents and
    warrants that construction of the Improvements has not begun and covenants that
    construction of the Improvements will commence promptly following the Closing Date and
    will continue with diligence and continuity, as determined by Lender in its reasonable discretion,
    in compliance with the Construction Schedule, in order that Substantial Completion of the
    Improvements will occur on or before the Completion Date.

                    (b)     Subject to the provisions of Section 6.10, all construction must be free and
    clear of defects in and liens or claims for liens for materials supplied or labor or services
    performed in connection with the Improvements. The Improvements must be in substantial
    conformity with the Plans and Specifications and, except for off-site improvements designated
    thereon, must be contained wholly within the lot lines of the Premises and will not encroach on
    any other real estate, easements, building lines or set-back requirements.

            6.6     Ownership of Personal Property. Borrower will be the sole owner of all
    Collateral related to the Project acquired after the date hereof, free from any adverse lien,
    security interest or adverse claim of any kind whatsoever, except for security interests and liens
    in favor of the interest of a lessor pursuant to a lease of personal property approved by Lender
    and the liens and security interests approved by Lender pursuant to Section 6.2.

           6.7      Correction of Defects. Within five (5) days after notice thereof, Borrower will
    proceed with diligence to correct all defects in the Improvements and any departure from the
    Plans and Specifications except as approved by Lender or permitted under Section 6.8. The
    disbursement of any Loan proceeds will not constitute a waiver of Lender’s right to require
    compliance with this covenant with respect to any such defect or departure from the Plans and
    Specifications.



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              6.8    Changes and Change Orders.

                    (a)    Borrower will not change or in any manner cause or seek a change in any
    laws, requirements of Governmental Authorities and obligations created by private contracts and
    leases which now or hereafter may significantly affect the ownership, construction, equipping,
    fixturing, use or operation of the Project without the prior written consent of Lender.

                    (b)    Any Change Order must be submitted to Lender for review and approval.
    Borrower will not, without the prior written approval of Lender, which approval shall not be
    unreasonably withheld, delayed, or conditioned, permit the performance of any work pursuant to,
    or request a disbursement for, any Change Orders which result in a material change in the
    Plans and Specifications, Construction Schedule, General Contract or any Construction Contract
    or will increase Project Costs. Proposed Change Orders requiring Lender’s approval must be
    submitted to Lender on a form acceptable to Lender containing such information as to the nature,
    scope and cost for such change as Lender may require together with a marked copy of the
    portion of the Plans and Specifications affected by the proposed change.

                   (c)    Notwithstanding the provisions of this Section 6.8, but subject to
    Section 6.9, Borrower is not be required to obtain Lender’s consent to any individual Change
    Order of $25,000.00 or less, paid from the contingency budget or reallocated from other budget
    line items with Lender’s approval.

            6.9   Changes in Cost of Contracts. Borrower will not agree to any increases in the
    cost or amount of the General Contract or any Construction Contract without Lender’s prior
    written consent.

              6.10   Contesting Liens.

                   (a)     Borrower will promptly discharge or cause to be discharged any
    mechanics’ or materialmen’s liens or claims of lien filed or otherwise asserted against the
    Premises, the Improvements, the Project or any funds due the General Contractor or any
    Construction Contractor and any proceedings for the enforcement thereof; provided, however,
    that Borrower has the right to contest in good faith and with reasonable diligence the validity of
    any such liens or claims upon furnishing to the Title Company such security, bond, surety, or
    indemnity as the latter may require to induce it to issue its Title Insurance Policy or an interim
    endorsement thereto insuring against all such claims or liens and, provided further, that Lender
    will not be required to make any further disbursements of the Loan until all such mechanics’ or
    materialmens’ liens or claims of lien shown on the title insurance commitment or any interim
    endorsement have been bonded around or so insured against by the Title Company to Lender’s
    reasonable satisfaction.

                    (b)     If (i) Borrower fails either to promptly discharge or contest liens or
    claims of lien and provide the security or indemnity in the manner provided in Section 6.10(a) or
    (ii) after having complied with the provisions of Section 6.10(a) there is an adverse conclusion
    to any such contest and Borrower does not cause any final judgment or decree to be immediately
    satisfied and the lien to be discharged, then Lender may, but will not be required to, procure the
    release and discharge of any such lien and any judgment or decree thereon, and in furtherance

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    thereof may, in its sole discretion, effect any settlement or compromise or furnish any security or
    indemnity as may be required by the Title Company. All amounts expended by Lender in
    connection with the provisions of this Section 6.10(b) will be deemed to constitute a
    disbursement of the Loan. In settling, compromising or arranging for the discharge of any liens
    under this Section 6.10(b), Lender will not be required to establish or confirm the validity or
    amount of the lien.

            6.11 Compliance with Loan Documents. Borrower will comply with all conditions
    of this Agreement, whether or not a disbursement of the Loan is requested. It will comply and,
    to the extent it is able, will cause compliance by parties thereto, with all other Loan Documents
    and with the General Contract and the Construction Contracts.

              6.12   Financial Statements and Reports.

                    (a)    As soon as available, and in any event within one hundred twenty (120)
    days after the end of each fiscal year of Borrower, Borrower must furnish to Lender a copy of the
    Borrower-prepared financial statements of Borrower for such period, in form and substance
    reasonably satisfactory to Lender (together with the comparable figures for the previous fiscal
    year) and must also provide Lender with such other information respecting the condition of
    Borrower and the Project as Lender may from time to time reasonably request.

                   (b)    As soon as available, and in any event within ninety (90) days after the
    end of each interim quarterly accounting period of Borrower, Borrower must furnish to Lender a
    copy of the Borrower-prepared current financial statements of Borrower for such period and for
    the Borrower’s fiscal year to date, in form and substance reasonably satisfactory to Lender
    (together with the comparable figures for the previous fiscal year).

                   (c)     As soon as available, and in any event within thirty (30) days of the date
    filed (including any extensions thereof) with the Internal Revenue Service, Borrower must
    furnish to Lender complete copies of the annual federal income tax returns of Borrower, together
    with all schedules and K-1s attached thereto.

                    (d)    As soon as available, and in any event within one hundred twenty (120)
    days after the end of each fiscal year of each entity Guarantor, Borrower must furnish or cause to
    be furnished to Lender a copy of the company-prepared financial statements of Guarantor, in
    form and substance reasonably satisfactory to Lender (together with the comparable figures for
    the previous fiscal year) and must also provide Lender with such other information respecting the
    condition of such Guarantor as Lender may from time to time reasonably request.

    All financial statements must be in reasonable detail, prepared in accordance with generally
    accepted accounting principles consistently applied throughout the period involved and, in the
    case of audited, compiled, or reviewed statements, with generally accepted auditing standards.
    All financial statements required pursuant hereto must be certified to by the duly authorized
    officer of the subject of such statements. If the statement is audited, compiled, or reviewed by a
    certified public accountant, such statement must be certified as having been audited, compiled, or
    reviewed by a certified public accountant satisfactory to Lender. To the extent required by
    Lender, together with such financial statements, Borrower will deliver to Lender: Borrower’s

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    certificate, certified by an authorized officer thereof, stating that there exists no Event of Default
    and no act or event which with notice and/or lapse of time would become an Event of Default or,
    if any such condition exists, specifying the nature and period of existence thereof and what
    action Borrower proposes to take with respect thereto.

            6.13 Representations and Warranties. Until repayment of the Note and all other
    obligations secured by the Deed of Trust, the representations and warranties of Article 5 will
    remain true and complete in all material respects.

           6.14 Trade Names. Borrower will immediately notify Lender in writing of any
    change in the legal, trade or fictitious business names used by Borrower and will, upon Lender’s
    request, execute any additional financing statements and other certificates necessary to reflect the
    change in trade names or fictitious business names.

            6.15 Further Assurances. Borrower will authorize, execute, and deliver from time to
    time, promptly after any request therefor by Lender, any and all instruments, agreements and
    documents and will take such other action as may be necessary or desirable in the opinion of
    Lender to maintain, perfect or insure Lender’s security provided for herein and in the other Loan
    Documents, including, without limitation, the authorization of UCC-1 renewal statements, the
    execution of such amendments to the Deed of Trust and the other Loan Documents and the
    delivery of such endorsements to the Title Insurance Policy, all as Lender reasonably requires,
    and Borrower will pay all fees and expenses (including reasonable attorneys’ fees) related
    thereto. Promptly upon the request of Lender, Borrower will execute and deliver a Certification
    of Non-Foreign Status.

            6.16 Notice of Litigation. Promptly following Borrower’s receipt of notice of the
    following, Borrower will give, or cause to be given, prompt written notice to Lender of (a) any
    action or proceeding which is instituted by or against it in any Federal or state court or before
    any commission or other regulatory body, Federal, state or local, foreign or domestic, or any
    such proceedings which are threatened against it which, if adversely determined, could have a
    material and adverse effect upon its business, operations, properties, assets, management,
    ownership or condition of Borrower (financial or otherwise), (b) any other action, event or
    condition of any nature which may have a material and adverse effect upon its business,
    operations, management, assets, properties, ownership or condition of Borrower (financial or
    otherwise), or which, with notice or lapse of time or both, would constitute an Event of Default
    or a default under any other contract, instrument or agreement to which it is a party or to which it
    or any of its properties or assets may be bound or subject, and (c) any actions, proceedings or
    notices adversely affecting the Project or Lender’s interest therein by any zoning, building or
    other municipal officers, offices or departments having jurisdiction with respect to the Project.

              6.17   Tenant Leases; SNDAs; Lease Termination Fees.

                   (a)    Compliance with Tenant Leases. Borrower will not breach any
    representation or warranty contained in any Tenant Lease. Borrower will perform all of its
    covenants and obligations under each Tenant Lease. Borrower will not take any action or omit
    to take any action which would permit the termination of any Tenant Lease. Borrower agrees to
    promptly notify Lender in writing of any default or alleged default by any party to any Tenant

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    Lease and to deliver to Lender copies of all notices, demands, complaints or other
    communications received or given by Borrower with respect to such default or alleged default.
    Lender will have the right but not the obligation to cure any default and to perform any or all of
    Borrower’s obligations under any Tenant Lease. All sums expended by Lender in curing any
    such default will be secured by the Deed of Trust, will be immediately due and payable without
    demand or notice and will bear interest from date of expenditure at the Default Interest Rate.

                    (b)    Approval of Tenant Leases. All Tenant Leases executed after the date
    hereof, unless otherwise approved by Lender in writing, must be in the Standard Lease Form.
    Lender has the right to approve or disapprove, in Lender’s sole discretion, each Tenant Lease
    executed after the date hereof (and the Tenant thereunder) which covers more than 2,500 net
    rentable square feet of the Improvements. Lender will approve or disapprove any Tenant Lease
    requiring Lender’s approval within ten (10) Business Days of receipt by Lender of the lease and
    all other information reasonably deemed necessary by Lender in connection with its approval of
    the lease. If Lender fails to approve or disapprove any lease within such ten (10) Business Day
    period, the lease will be deemed approved. Borrower will, within ten (10) days after a request
    therefor, deliver to Lender an estoppel certificate, in form and substance satisfactory to Lender,
    from such tenant or tenants as Lender may specify. Within ten (10) days after the execution
    thereof, Borrower will deliver to Lender copies of all leases deemed approved by Lender
    pursuant to the provisions of this Section 6.17. Any amendment to any Approved Tenant Lease
    which include changes in the Tenant Lease which are adverse to the Landlord thereunder, will be
    submitted to Lender prior to the execution thereof. The provisions of this Section 6.17 with
    regard to the time on which Lender must approve or disapprove any Tenant Lease will govern
    the approval or disapproval of any such amendment.

                    (c)    SNDA’s. Within ten (10) days after the execution thereof, Borrower will
    deliver to Lender Subordination, Non-Disturbance, and Attornment Agreements, in form and
    substance reasonably satisfactory to Lender, signed by each Tenant who executes a Tenant Lease
    after the date hereof.

                   (d)    Termination Fees. In the event that any Tenant Lease includes a
    provision permitting the Tenant to terminate the Tenant Lease upon payment of a lease
    termination fee, however such fee is described in the Tenant Lease, Borrower must give written
    notice to Lender of the exercise by the Tenant of such termination right, and if the termination
    fee exceeds $5,000, at Lender’s written request, Borrower must apply the termination fee to the
    prepayment in part of the outstanding principal balance of the Loan.

           6.18 Amendments to Formation Documents. Borrower will not allow any
    amendments to be made in the terms of the Borrower’s Articles of Organization or Borrower’s
    Operating Agreement without Lender’s prior written consent.

           6.19 Insurance Requirements. At all times throughout the Loan term, including the
    Construction Period, Borrower must, at its sole cost and expense, maintain insurance, and must
    pay, as the same becomes due and payable, all premiums in respect thereto, including, but not
    necessarily limited to:



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                    (a)      Property. Insurance against loss or damage by fire, lightning and other
    perils, on an all risk basis, such coverage to be in an amount not less than the full insurable value
    of the Improvements on a replacement cost basis. During the Construction Period, such policy
    must be written in the so-called “Builder’s Risk Completed Value Non-Reporting Form”, on an
    all-risk basis, with no co-insurance requirement, and must contain a provision granting the
    insured permission to complete and/or occupy.

                    (b)    Liability. Insurance protecting the Borrower and Lender against loss or
    losses from liability imposed by law or assumed in any written contract and arising from
    personal injury, including bodily injury or death, or a limit of liability of not less than
    $1,000,000.00 (combined single limit for personal injury and property damage) and an umbrella
    excess liability policy in an amount not less than $3,000,000.00 protecting the Borrower and
    Lender against any loss or liability or damage for personal injury, including bodily injury or
    death, or property damage. Such policies must be written on an occurrence basis so as to provide
    blanket contractual liability, broad form property damage coverage, and coverage for products
    and completed operations.

                   (c)    Business Interruption.          Business interruption insurance (extra
    expense/loss of income insurance) in an amount sufficient to cover any loss of income from the
    Project in an amount of not less than actual income loss for a period of twelve (12) months. This
    coverage must be in effect from the date of Substantial Completion of the Project.

                   (d)     Flood. If the Premises, or any part thereof, lies within a “special flood
    hazard area” as designated on maps prepared by the U.S. Department of Housing and Urban
    Development, a National Flood Insurance Association standard flood insurance policy, plus
    insurance from a private insurance carrier if necessary, for the duration of the Loan in the
    amount of the full insurable value of the Improvements.

                   (e)     Contractor. The General Contractor will be required to carry liability
    insurance of the type and providing the minimum limits set forth below:

                             (i)   Workman’s compensation insurance, disability benefits insurance
                     and each other form of insurance which the General Contractor is required by law
                     to provide, covering loss resulting from injury, sickness, disability or death of
                     employees of the General Contractor who are located on or assigned to the
                     Project.

                            (ii)   Comprehensive general liability insurance on an occurrence basis
                     providing coverage for:

                            Premises and Operations
                            Products and Completed Operations
                            Blanket Contractual Liability
                            Personal Injury Liability
                            Broad Form Property Damage
                                   (including completed operations)
                            Explosion Hazard

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                            Collapse Hazard
                            Underground Property Damage Hazard

                     Such policy must have a limit of liability of not less than $3,000,000.00
                     (combined single limit for personal injury, including bodily injury or death, and
                     property damage).

                             (iii) Business auto liability including all owned, non-owned and hired
                     autos with a limit of liability of not less than $1,000,000.00 (combined single
                     limit for personal injury, including bodily injury or death, and property damage).

                            (iv)   Excess “umbrella” liability providing liability insurance in excess
                     of the coverages in (i), (ii) and (iii) above with a limit of not less than
                     $5,000,000.00.

                    (f)     Architect. During the Loan term, and if requested by Lender, the
    architect will be required to provide architect’s or engineer’s professional liability insurance with
    a limit of liability of not less than $50,000.00, or such other amount as may be acceptable to
    Lender.

                   (g)    Engineer. During the Loan term, and if requested by Lender, the soils
    engineer or environmental contractor will be required to provide engineer’s professional liability
    insurance with a limit of liability of not less than $50,000.00 or such other amount as may be
    acceptable to Lender.

                    (h)    Other. All insurance policies must (i) be issued by an insurance company
    having a rating of “A-VIII” or better by A.M. Best Co., in Best’s Rating Guide, (ii) name Lender
    as an additional insured on all liability insurance and as mortgagee and lender loss payable on all
    casualty insurance, (iii) provide that Lender is to receive thirty (30) days written notice prior to
    non-renewal or cancellation, (iv) be evidenced by a certificate of insurance to be held by Lender,
    and (v) be in form and amounts acceptable to Lender.

                     (i)    Evidence. All such policies of insurance, or certificates of insurance
    evidencing that such insurance is in full force and effect, must be delivered to Lender on or
    before the Closing Date (together with proof of the payment of the premiums thereof). At least
    thirty (30) days prior to the expiration of each such policy, Borrower must furnish Lender
    evidence that such policy has been renewed or replaced in the form of a certificate reciting that
    there is in full force and effect, with a term covering at least the next succeeding calendar year,
    insurance hereof of the types and in the amounts required.

            6.20 Maintenance of Existence. Borrower must maintain and preserve its existence
    and all rights and franchises material to its business.

          6.21 Construction Materials. Borrower will not use, and will not permit the use of,
    any Hazardous Material (as defined in the Environmental Indemnity) in the construction of the
    Improvements.



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            6.22 Appraisals. If deemed reasonably necessary by Lender or if required by law,
    Lender has the right to order Appraisals of the Project from time to time from an appraiser
    selected by Lender, which Appraisals comply with all federal and state standards for Appraisals
    and otherwise be satisfactory to Lender in all respects. Borrower agrees to pay the cost and
    expense for all Appraisals and reviews thereof ordered by Lender pursuant to this paragraph.
    Notwithstanding the foregoing, following the Closing Date, except if ordered upon the
    occurrence of an Event of Default, an Unmatured Event of Default and/or to the extent that an
    Appraisal is required by any law, rule or regulation applicable to Lender, Borrower shall not be
    required to pay for the cost and expense of more than one (1) Appraisal and review thereof
    during any consecutive twelve (12) month period during the term of the Loan.

            6.23 Verification of Costs. At Lender’s request, Borrower agrees to provide Lender
    with copies of all contracts, subcontracts and other agreements relating to the Project so that
    Lender can verify all costs set forth in the Budget, which contracts, subcontracts and other
    agreements will be subject to Lender’s review and approval. Based on its review and
    verification of costs set forth in the Budget, Lender will have the reasonable right to reduce the
    dollar amount of any line items in the Budget or reallocate between line items in the Budget
    provided Lender does not materially interfere with Borrower’s obligations under the Loan
    Documents.

              6.24   Stop Notices.

                    (a)    General. Borrower will not cause or permit any “stop notice” or similar
    notice to be filed or served on Lender with respect to the Premise. Borrower must defend,
    indemnify and hold Lender and its officers, directors, agents and employees harmless from and
    against all claims, damages, loss, liability, costs and expenses (including reasonable attorneys’
    fees and internal costs) arising from or relating to any such stop notice, the compliance therewith
    and the defense thereof. Lender may require Borrower to provide a release bond for any stop
    notice, which bond will be subject to Lender’s review and approval and/or may take such action
    with respect to any stop notice as Lender may deem appropriate in Lender’s sole and absolute
    discretion and Lender may withhold such amounts from disbursement in connection with the
    Loan as Lender may elect in Lender’s sole and absolute discretion, and whether or not Lender is
    obligated to withhold funds pursuant to applicable law or any demands made in connection with
    any stop notice.

                    (b)    Notices. Borrower irrevocably appoints Lender as its attorney-in-fact,
    coupled with an interest and with full power of substitution, to file for record, at the Borrower’s
    cost and expense and in Borrower’s name, any notices of completion, notices of cessation of
    labor, or any other notices that Lender considers necessary or desirable to protect its security.

                   (c)     Construction Contracts. At Lender’s request, Lender may require that
    construction of any site improvements be set forth in a separate construction contract and not
    included in any other construction contract for non-site improvements.

                   (d)  Loan Balancing. With respect to any Loan “balancing” set forth herein
    or in the Loan Documents, any Loan funds which are subject to any stop notice or which Lender


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    has determined to withhold from disbursement will be excluded from any calculation of
    available Loan funds under the Loan.

            6.25 Financing Statements. By executing this Agreement, Borrower authorizes
    Lender to file any and all Uniform Commercial Code financing statements in the appropriate
    jurisdiction(s) as may be required to perfect the security interests of Lender in and to all personal
    property collateral securing the Loan as contemplated by this Agreement and the Loan
    Documents.

           6.26 Transfers. Borrower will not participate in or permit a Transfer, other than the
    Permitted Exceptions, without the prior written consent of Lender. Borrower will not transfer
    any assets into an asset protection trust or an irrevocable trust while any indebtedness is owing to
    Lender, without Lender’s prior written consent.

              6.27   Financial Covenants of Borrower.

                    (a)     Debt Service Coverage. Commencing on ninety (90) days after a
    certificate of occupancy is issued or Operations commence, whichever occurs first, and
    continuing through the remaining term of the Loan, the Project must maintain at all times a Debt
    Service Coverage Ratio of not less than 1.25 to 1.00, which covenant will be tested by Lender at
    the end of each calendar quarter based upon the financial statements of Borrower delivered to
    Lender pursuant to Section 6.12. In the event the Project fails to satisfy the foregoing covenant,
    Borrower must immediately reduce the unpaid principal balance of the Loan, in an amount
    sufficient to increase the Debt Service Coverage Ratio to be at or above said ratio.

            6.28 Restrictions On Distributions. Borrower shall not make any distributions,
    loans, repayments of member loans, returns of capital contributions, payment of developer,
    management or other fees, except in accordance with Section 6.32, or any other payments to its
    members and/or any Affiliates, until the Loan is repaid in full. Notwithstanding the foregoing,
    distributions will be permitted provided: (i) Borrower has achieved a Debt Service Coverage
    Ratio of not less than 1.25 to 1.00, (ii) no Event of Default exists, and (iii) there has been no
    Event of Default, whether cured, waived, or otherwise by Lender in the immediately preceding
    two (2) calendar months.

           6.29 Continuity of Operations. Borrower will not, directly or indirectly, engage in
    any business other than the form(s) of business in which it is engaged on the date of this
    Agreement, or discontinue any of its existing forms of business or substantially alter its method
    of doing business.

           6.30 Errors and Omissions. Borrower hereby covenants and agrees that it will within
    ten (10) days of a request by Lender, comply with any request by Lender to correct
    documentation errors, omissions or oversights, if any, that occur in any documentation relating to
    this Loan.

            6.31 Management Agreement. Borrower shall not enter into, amend, extend,
    substitute any management agreement covering all or any portion of the Project without Lender’s
    prior written consent, which consent shall not be unreasonably withheld, conditioned, or delayed.
    In the event that Lender grants such consent, Borrower shall cause the manager under said
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    agreement to enter into an agreement with Lender, reasonably acceptable in form and substance
    to Lender, pursuant to which said manager subordinates its liens for unpaid fees to the liens of
    the Mortgage and the other Loan Documents.

           6.32 Developer Fees. The Approved Budget contains a line item for a “Development
    Fee” in the amount of $1,172,142.10. Subject to Lender’s receipt and approval of satisfactory
    documentation relating to the development of the Project, the Development Fee shall be payable
    in monthly installments on the basis of the percentage of completion of the Project. If an Event
    of Default occurs, no undisbursed development fees shall be paid.

                   (b)    No other fees in connection with the development of the Project shall be
    paid to Borrower, Manager, or any Affiliate of Borrower or any of the foregoing entities, without
    the prior written consent of Lender except as expressly permitted under Section 6.33 of this
    Agreement.

    7.        EVENTS OF DEFAULT AND REMEDIES

              7.1    Events of Default.

                  (a)    The occurrence of any one or more of the following will constitute an
    Event of Default under this Agreement:

                             (i)    Failure by Borrower or Guarantor to pay any monetary amount
                     when due under any Loan Document and the expiration of seven (7) days after
                     written notice of such failure by Lender to Borrower.

                             (ii)   Failure by Borrower or Guarantor to perform any obligation not
                     involving the payment of money, or to comply with any other term or condition
                     applicable to Borrower or Guarantor under any Loan Document and the
                     expiration of thirty (30) days after written notice of such failure by Lender to
                     Borrower.

                           (iii) Any representation or warranty by Borrower or Guarantor in any
                     Loan Document is materially false, incorrect, or misleading as of the date made.

                            (iv)    The occurrence of any Material Adverse Change.

                             (v)     Borrower or Guarantor (i) is unable or admits in writing
                     Borrower’s or Guarantor’s inability to pay Borrower’s or Guarantor’s respective
                     monetary obligations as they become due, (ii) fails to pay when due any monetary
                     obligation, whether such obligation be direct or contingent, to any person in
                     excess of One Hundred Thousand Dollars ($100,000), (iii) makes a general
                     assignment for the benefit of creditors, or (iv) applies for, consents to, or
                     acquiesces in, the appointment of a trustee, receiver, or other custodian for
                     Borrower or Guarantor or the property of Borrower or Guarantor or any part
                     thereof, or in the absence of such application, consent, or acquiescence a trustee,
                     receiver, or other custodian is appointed for Borrower or Guarantor or the


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                     property of Borrower or Guarantor or any part thereof, and such appointment is
                     not discharged within sixty (60) days.

                             (vi)  Commencement of any case under the Bankruptcy Code, Title 11
                     of the United States Code, or commencement of any other bankruptcy
                     arrangement, reorganization, receivership, custodianship, or similar proceeding
                     under any federal, state, or foreign law by or against Borrower or Guarantor and
                     with respect to any such case or proceeding that is involuntary, such case or
                     proceeding is not dismissed with prejudice within sixty (60) days of the filing
                     thereof.

                             (vii) Any litigation or proceeding is commenced before any
                     Governmental Authority against or affecting Borrower or Guarantor or the
                     property of Borrower or Guarantor or any part thereof and such litigation or
                     proceeding is not defended diligently and in good faith by Borrower or Guarantor,
                     as applicable.

                            (viii) A final judgment or decree for monetary damages or a monetary
                     fine or penalty (not subject to appeal or as to which the time for appeal has
                     expired) is entered against Borrower or Guarantor by any Governmental
                     Authority, which together with the aggregate amount of all other such judgments
                     and decrees against Borrower or Guarantor that remain unpaid or that have not
                     been discharged or stayed, exceeds Fifty Thousand Dollars ($50,000), is not paid
                     and discharged or stayed within forty five (45) days after the entry thereof.

                             (ix)   Commencement of any action or proceeding which seeks as one of
                     its remedies the dissolution of Borrower.

                             (x)    All or any part of the property of Borrower or Guarantor is
                     attached, levied upon, or otherwise seized by legal process, and such attachment,
                     levy, or seizure is not quashed, stayed, or released within twenty (20) days of the
                     date thereof, or as soon as reasonably practicable if unable to be quashed, stayed,
                     or released within twenty (20) days (but in no event to exceed sixty (60) days).

                            (xi)    The occurrence of any Transfer, unless prior to such Transfer the
                     holder of the Note has delivered to Borrower the written consent of such holder to
                     such Transfer.

                            (xii) The occurrence of any default under any other Loan Document
                     which continues beyond any applicable notice and cure period.

                            (xiii) The occurrence of any default under any other credit facilities
                     provided by Lender to Borrower which continues beyond any applicable notice
                     and cure period.

                             (xiv)   If Borrower or its affiliates, at any time, ceases to manage the
                     Project.


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                             (xv) Inability of Borrower to satisfy any condition for the receipt of a
                     disbursement hereunder, or to resolve the situation to the satisfaction of Lender,
                     for a period in excess of thirty (30) days after written notice from Lender, unless
                     (i) such inability has been caused by conditions beyond the control of Borrower,
                     including without limitation, acts of God or the elements (specifically including
                     but not limited to floods, snowfall, avalanches, or rockslides), fire, strikes, labor
                     disputes, quarantine or other government shutdowns, pandemic, delays in delivery
                     of material and disruption of shipping; (ii) Borrower has made adequate provision
                     acceptable to Lender for the protection of materials stored on-site and for the
                     protection of the Improvements to the extent then constructed against
                     deterioration and against other loss or damage or theft; (iii) Borrower furnishes to
                     Lender satisfactory evidence that such cessation of construction will not adversely
                     affect or interfere with the rights of Borrower under material contract or
                     subcontracts relating to the construction or operation of the Improvements; and
                     (iv) Borrower furnishes to Lender satisfactory evidence that the completion of the
                     Improvements can be accomplished by the Completion Date.

                             (xvi) Commencement of any case under the Bankruptcy Code, Title 11
                     of the United States Code, or commencement of any other bankruptcy
                     arrangement, reorganization, receivership, custodianship, or similar proceeding
                     under any federal, state, or foreign law by or against General Contractor or the
                     withdrawal of the General Contractor from proceeding with construction of the
                     Project and the failure of Borrower to procure a contract at the same price, or, if at
                     a higher price, to supply the additional funds thereby required with a new general
                     contractor satisfactory to Lender within thirty (30) days from the occurrence of
                     such bankruptcy, insolvency or withdrawal.

                             (xvii) Failure to deposit with Lender in cash or cash equivalents the
                     amount necessary to put the Loan “in balance” within ten (10) days of Lender’s
                     notice that the Loan is not “in balance”.

                             (xviii) Failure to deposit with or deliver to Lender any funds required to
                     be deposited with or delivered to Lender under this Agreement, including, without
                     limitation, any funds required under Section 6.27 (Debt Service Coverage Ratio)
                     hereof, within the time period set forth in the applicable sections.

              7.2    Remedies.

                   (a)     Notwithstanding any provision to the contrary herein or any of the other
    Loan Documents, upon the happening of any Event of Default under this Agreement:
    (i) Lender’s obligation to make further disbursements of the Loan will abate, and (ii) Lender
    may, at its option, have the right to declare all outstanding indebtedness to be immediately due
    and payable without presentment, demand, protest or notice of any kind, and the following
    additional remedies: Lender’s obligation to make further disbursements to Borrower will
    terminate; Lender may, at its option, apply any of Borrower’s funds in its possession to the
    outstanding indebtedness under the Note whether or not such indebtedness is then due; Lender
    may exercise any or all rights and remedies available to it under any or all of the Loan

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    Documents; and Lender will have the right to cause an independent contractor selected by
    Lender to enter into possession of the Premises and to perform any and all work and labor
    necessary for the completion of the Project substantially in accordance with the Plans and
    Specifications and to perform Borrower’s obligations under this Agreement. All sums expended
    by Lender for such purposes will be deemed to have been disbursed to and borrowed by
    Borrower and will be secured by the Deed of Trust on the Premises.

                   (b)      Borrower hereby constitutes and appoints Lender, or an independent
    contractor selected by Lender, as its true and lawful attorney-in-fact with full power of
    substitution for the purposes of completion of the Project and performance of Borrower’s
    obligations under this Agreement in the name of the Borrower, and hereby empower said
    attorney-in-fact to do any or all of the following upon the occurrence of an Event of Default:

                             (i)    to use any of the funds of Borrower, including any balance of the
                     Loan, as applicable, and any funds which may be held by Lender for Borrower,
                     for the purpose of effecting completion of the Improvements in the manner called
                     for by the Plans and Specifications;

                            (ii)    to make such additions, changes and corrections in the Plans and
                     Specifications as may be necessary to complete the Improvements in substantially
                     the manner contemplated by the Plans and Specifications;

                            (iii) to employ any contractors, subcontractors, agents, architects and
                     inspectors required for said purposes;

                            (iv)    to employ attorneys to defend against attempts to interfere with the
                     exercise of power granted hereby;

                             (v)    to pay, settle or compromise all existing bills and claims which are
                     or may be liens against the Premises, the Improvements or the Project or may be
                     necessary or desirable for the completion of the Improvements or clearance of
                     objections to or encumbrances on title;

                            (vi)    to execute all applications and certificates in the name of
                     Borrower, which may be required by the General Contract, any Construction
                     Contract, any Subcontract or any other construction contract;

                            (vii) to prosecute and defend all actions or proceedings in connection
                     with the Project and to take such action, require such performance and do any and
                     every other act as is deemed necessary with respect to the completion of the
                     Improvements which Borrower might do on its own behalf;

                             (viii) to let new or additional contracts with the same contractors or
                     others to the extent not prohibited by their existing contracts;

                             (ix)   to employ watchmen and erect security fences to protect the
                     Project from injury; and


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                            (x)     to take such action and require such performance as it deems
                     necessary under any of the bonds or insurance policies to be furnished hereunder,
                     to make settlements and compromises with the sureties or insurers thereunder, and
                     in connection therewith to execute instruments of release and satisfaction.

    It is understood and agreed that the foregoing power of attorney is deemed to be a power coupled
    with an interest which cannot be revoked until repayment of the Loan.

    8.        MISCELLANEOUS

           8.1     Assignment. Borrower may not assign any of its rights under this Agreement
    except with the written consent of Lender.

            8.2    Notices. All notices, requests, demands and consents to be made hereunder to the
    parties hereto must be in writing and be delivered by hand or sent by registered mail or certified
    mail, postage prepaid, return receipt requested, through the United States Postal Service to the
    addresses shown below or such other address which the parties may provide to one another in
    accordance herewith. Such notices, requests, demands and consents, if sent by mail will be
    deemed given two (2) Business Days after deposit in the United States mail, and if delivered by
    hand, will be deemed given when delivered.

                     To Lender:        ARGO MILL SL LLC
                                       2808 Fairmont Street
                                       Suite 130
                                       Dallas, Texas 75201

                                       With a copy (which shall not constitute notice) to:

                                       Snell and Wilmer L.L.P.
                                       1200 Seventeenth Street, Suite 1900
                                       Denver, Colorado 80202
                                       Attention: David Clark, Esq.

                     To Borrower:      Mighty Argo Cable Car, LLC
                                       1431 Miner Street
                                       PO BOX 1201
                                       Idaho Springs, Colorado 80452

                     To Guarantor:     Mary Jane Loevlie

                                       1431 Miner Street
                                       PO BOX 1201
                                       Idaho Springs, Colorado 80452

                                       With a copy (which shall not constitute notice) to:

                                       Welborn Sullivan Meck & Tooley, P.C.
                                       1125 17th Street, Suite 2200

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                                      Denver, Colorado 80202
                                      Attention: Mike Fredregill

           8.3      Authority to File Notices. Borrower irrevocably appoints Lender as its
    attorney-in-fact, with full power of substitution, to file for record, at the Borrower’s cost and
    expense and in Borrower’s name, any notices of completion, notices of cessation of labor, or any
    other notices that Lender considers necessary or desirable to protect its security.

           8.4    Inconsistencies with the Loan Documents. In the event of any inconsistencies
    between the terms of this Agreement and any terms of any of the Loan Documents, the terms of
    this Agreement will govern and prevail.

           8.5    No Waiver. No disbursement of proceeds of the Loan will constitute a waiver of
    any conditions to Lender’s obligation to make further disbursements nor, in the event Borrower
    is unable to satisfy any such conditions, will any such waiver have the effect of precluding
    Lender from thereafter declaring such inability to constitute a default or Event of Default under
    this Agreement.

            8.6   Lender Approval of Instruments and Parties. All proceedings taken in
    accordance with transactions provided for herein; all surveys, appraisals and documents required
    or contemplated by this Agreement and the persons responsible for the execution and preparation
    thereof; must be satisfactory to and subject to approval by Lender. Lender’s counsel will be
    provided with copies of all documents which they may reasonably request in connection with the
    Agreement.

           8.7    Lender Determination of Facts. Lender is at all times free to establish
    independently, to its satisfaction, the existence or nonexistence of any fact or facts, the existence
    or nonexistence of which is a condition of this Agreement.

            8.8    Incorporation of Preamble, Recitals and Exhibits. The preamble, recitals and
    exhibits hereto are hereby incorporated in to this Agreement.

           8.9     Third-Party Consultants. Lender may hire such third-party consultants as it
    deems reasonably necessary, the costs of which will be paid by Borrower, to provide the
    following services: (a) review final Plans and Specifications and final construction cost
    breakdown and the Construction Schedule; (b) conduct compliance inspections with respect to
    the progress of construction of the Project and approve each element of a request for
    disbursement relating to construction costs; and (c) perform such other services as may, from
    time to time, be required by Lender. This obligation on the part of Borrower will survive the
    closing of the Loan until paid. Borrower hereby authorizes Lender, in its discretion, to pay such
    expenses, charges, costs and fees at any time by a disbursement of the Loan.

           8.10 Payment of Expenses. Borrower must pay all taxes and assessments and all
    expenses, charges, costs and fees provided for in this Agreement and the Budget or relating to
    the Loan or construction of the Improvements, including, without limitation, any fees incurred
    for recording or filing any of the Loan Documents, title insurance premiums and charges, tax
    service contract fees, fees of any consultants, fees and expenses of Lender’s counsel,
    documentation and processing fees, printing, photostating and duplicating expenses, air freight
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    charges, escrow fees, costs of surveys, premiums of hazard insurance policies and surety bonds
    and fees for any appraisal and appraisal review, market or feasibility study required by Lender.
    Borrower hereby authorizes Lender to disburse the proceeds of the Loan to pay such expenses,
    charges, costs and fees when due notwithstanding that Borrower may not have requested a
    disbursement of such amount. Lender may make such disbursements notwithstanding the fact
    that the Loan is not “in balance” or that Borrower is in default under the terms of this Agreement
    or any other Loan Document. Such disbursement will be added to the outstanding principal
    balance of the Note. The authorization hereby granted is irrevocable, and no further direction or
    authorization from Borrower is necessary for Lender to make such disbursements. However, the
    provision of this Section 8.10 do not prevent Borrower from paying such expense, charges, costs
    and fees from its own funds. All such expenses, charges, costs and fees are Borrower’s
    obligation regardless of whether or not Borrower has requested and met the conditions for a
    disbursement of the Loan. The obligations on the part of Borrower under this Section 8.10 will
    survive the closing of the Loan and the repayment thereof. Borrower hereby authorizes Lender,
    in its discretion, to pay such expenses, charges, costs and fees at any time by a disbursement of
    the Loan as provided for in the Loan Documents.

            8.11 Disclaimer by Lender.             Lender will not be liable to any contractor,
    subcontractor, supplier, laborer, architect, engineer or any other party for services performed or
    materials supplied in connection with the Project. Lender will not be liable for any debts or
    claims accruing in favor of any such parties against Borrower or others or against the Premises or
    the Project. Borrower is not and will not be an agent of Lender for any purpose. Lender is not a
    joint venture partner with Borrower or with the constituent partners in Borrower in any manner
    whatsoever. Prior to default by Borrower under this Agreement and the exercise of remedies
    granted herein, Lender will not be deemed to be in privity of contract with any contractor or
    provider of services to the Project, nor will any payment of funds directly to a contractor,
    subcontractor, or provider of services be deemed to create any third party beneficiary status or
    recognition of same by Lender. Approvals granted by Lender for any matters covered under this
    Agreement will be narrowly construed to cover only the parties and facts identified in any
    written approval or, if not in writing, such approvals will be solely for the benefit of Borrower.

            8.12 Indemnification. To the fullest extent permitted by law, Borrower agrees to
    protect, indemnify, defend and save harmless Lender, its directors, officers, agents and
    employees for, from and against any and all liability, expense or damage of any kind or nature
    and for, from and against any suits, claims or demands, including reasonable legal fees and
    expenses on account of any matter or thing or action or failure to act by Lender, whether in suit
    or not, arising out of this Agreement or in connection herewith, including, without limitation, any
    suit, claim or demand arising out of any default which may occur under the CC&Rs. Upon
    receiving knowledge of any suit, claim or demand asserted by a third party that Lender believes
    is covered by this indemnity, Lender will give Borrower notice of the matter and an opportunity
    to defend it, at Borrower’s sole cost and expense, with legal counsel satisfactory to Lender.
    Lender may also require Borrower to so defend the matter. The obligations on the part of
    Borrower under this Section 8.12 will survive the closing of the Loan and the repayment thereof.

          8.13 Titles and Headings. The headings at the beginning of each section of this
    Agreement are solely for convenience and are not part of this Agreement. Unless otherwise


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    indicated, each reference in this Agreement to a section or an exhibit is a reference to the
    respective section herein or exhibit hereto.

            8.14 Brokers. Except for any amounts owed to Teneo Securities LLC, Borrower and
    Lender represent to each other that neither of them knows of any brokerage commissions or
    finders’ fee due or claimed with respect to the transaction contemplated hereby. Borrower and
    Lender will indemnify and hold harmless the other party for, from and against any and all loss,
    damage, liability, or expense, including costs and reasonable attorney fees, which such other
    party may incur or sustain by reason of or in connection with any misrepresentation by the
    indemnifying party with respect to the foregoing.

            8.15 Change, Discharge, Termination. or Waiver. No provision of this Agreement
    may be changed, discharged, terminated, or waived except in writing signed by the party against
    whom enforcement of the change, discharge, termination, or waiver is sought. No failure on the
    part of Lender to exercise and no delay by Lender in exercising any right or remedy under the
    Loan Documents or under the law will operate as a waiver thereof.

         8.16 CHOICE OF LAW. THIS AGREEMENT HAS BEEN DELIVERED IN
    COLORADO, AND WILL BE CONSTRUED IN ACCORDANCE WITH AND GOVERNED
    BY THE LAWS OF THE STATE OF COLORADO. THE COURTS OF COLORADO,
    FEDERAL OR STATE, WILL HAVE JURISDICTION OF ALL LEGAL ACTIONS ARISING
    OUT OF THIS AGREEMENT.        BY EXECUTING THIS AGREEMENT, THE
    UNDERSIGNED SUBMITS TO THE JURISDICTION OF THE FEDERAL AND STATE
    COURTS OF COLORADO.

           8.17 Disbursements in Excess of Loan Amount. In the event the total disbursements
    by Lender exceed the amount of the Loan, to the extent permitted by the laws of the State of
    Colorado, the total of all disbursements will be secured by the Deed of Trust. All other sums
    expended by Lender pursuant to this Agreement or any other Loan Documents will be deemed to
    have been paid to Borrower and will be secured by, among other things, the Deed of Trust.

            8.18 Signs. Throughout the term of the Loan, Lender will have the right to erect one
    or more signs on the Project indicating its provision of financing for the Project, with a size and
    in a location as mutually determined by Borrower and Lender, and Lender will also have the
    right to publicize its financing of the Project as Lender and Borrower may deem appropriate.

         8.19 JURY WAIVER. BORROWER AND LENDER HEREBY VOLUNTARILY,
    KNOWINGLY, IRREVOCABLY AND UNCONDITIONALLY WAIVE ANY RIGHT TO
    HAVE A JURY PARTICIPATE IN RESOLVING ANY DISPUTE (WHETHER BASED
    UPON CONTRACT, TORT OR OTHERWISE) BETWEEN OR AMONG BORROWER AND
    LENDER ARISING OUT OF OR IN ANY WAY RELATED TO THIS AGREEMENT OR
    ANY OTHER RELATED DOCUMENT OR LOAN DOCUMENT. THIS PROVISION IS A
    MATERIAL INDUCEMENT TO LENDER TO PROVIDE THE FINANCING DESCRIBED
    HEREIN OR IN THE OTHER LOAN DOCUMENTS.

           8.20 Patriot Act Provisions. The following notification is provided to Borrower
    pursuant to Section 326 of the USA Patriot Act of 2001, 31 U.S.C. Section 5318:

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                    (a)    IMPORTANT INFORMATION ABOUT PROCEDURES FOR
    OPENING A NEW ACCOUNT. To help the government fight the funding of terrorism and
    money laundering activities, Federal law requires all financial institutions to obtain, verify, and
    record information that identifies each person or entity that opens an account, including any
    deposit account, treasury management account, loan, other extension of credit, or other financial
    services product. What this means for Borrower: When Borrower opens an account, if
    Borrower is an individual, Lender will ask for Borrower’s name, taxpayer identification number,
    residential address, date of birth, and other information that will allow Lender to identify
    Borrower and, if Borrower is not an individual, Lender will ask for Borrower’s name, taxpayer
    identification number, business address, and other information that will allow Lender to identify
    Borrower. Lender may also ask, if Borrower is an individual, to see Borrower’s driver’s license
    or other identifying documents and, if Borrower is not an individual, to see Borrower’s legal
    organizational documents or other identifying documents.

                    (b)    Government Regulation. Borrower must not (a) be or become subject at
    any time to any law, regulation, or list of any government agency (including, without limitation,
    the U.S. Office of Foreign Asset Control list) that prohibits or limits Lender from making any
    advance or extension of credit to Borrower or from otherwise conducting business with
    Borrower, or (b) fail to provide documentary and other evidence of Borrower’s identity as may
    be requested by Lender at any time to enable Lender to verify Borrower’s identity or to comply
    with any applicable law or regulation, including, without limitation, Section 326 of the USA
    Patriot Act of 2001, 31 U.S.C. Section 5318.

            8.21 Participations. Lender will have the right at any time to sell, assign, transfer,
    negotiate or grant participations in all or any part of the Loan or the Note to one or more
    assignees or participants. Borrower hereby acknowledges and agrees that any such disposition
    will give rise to a direct obligation of Borrower to each such assignee and participant. Lender
    may disseminate any information it now has or hereafter obtains pertaining to the Loan,
    including any security for the Loan and credit or other information on the Project, Borrower, any
    of Borrower’s principals and any guarantor, to any actual or prospective assignee or participant,
    to Lender’s affiliates, to any regulatory body having jurisdiction over Lender and to any other
    parties as necessary or appropriate in Lender’s reasonable judgment.

            8.22 Pledge by Lender. Lender may at any time pledge a security interest in all or
    any portion of its rights under this Agreement to secure obligations of Lender, including without
    limitation any pledge to secure obligations to a Federal Reserve Bank; provided that no such
    pledge of a security interest will release Lender from any of its obligations hereunder or
    substitute any such pledgee for Lender as a party hereto.

           8.23 Counterparts. This Agreement may be executed in any number of counterparts
    each of which will be deemed an original, but all such counterparts together will constitute but
    one agreement.

              8.24   Time is of the Essence. Time is of the essence of this Agreement.

           8.25 Attorneys’ Fees. Borrower agrees to pay all costs of enforcement and collection
    and preparation for any Event of Default or any action taken by Lender (including, without

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    limitation, reasonable attorneys’ fees) whether or not any action or proceeding is brought
    (including, without limitation, all such costs incurred in connection with any bankruptcy,
    receivership, or other court proceedings [whether at the trial or appellate level]), together with
    interest thereon from the date of demand at the Default Interest Rate.

          8.26 Integration. The Loan Documents contain the complete understanding and
    agreement of Borrower and Lender and supersede all prior representations, warranties,
    agreements, arrangements, understandings, and negotiations.

            8.27 Binding Effect. The Loan Documents will be binding upon, and inure to the
    benefit of, Borrower and Lender and their respective successors and assigns. Borrower may not
    delegate its obligations under the Loan Documents.

            8.28 Survival. The representations, warranties, and covenants of the Borrower and the
    Loan Documents will survive the execution and delivery of the Loan Documents and the making
    of the Loan.

           8.29 Number and Gender. In this Agreement the singular will include the plural and
    the masculine will include the feminine and neuter gender and vice versa, if the context so
    requires.

           8.30 Right of First Refusal. Lender shall have the right of first offer to have Lender
    or an Affiliate thereof provide any follow on, construction financing for future phases, or re-
    financing of the Premises (the “Re-Finance”) if at any time during the term of the Loan
    Borrower elects to seek such financing. In such event, Borrower shall provide Lender a standard
    financing package including standard financial information and such other information
    reasonably requested by Lender to fully underwrite the Re-Finance. Within 30 days after
    Borrower has submitted a standard finance package to Lender, Lender will provide an
    application with a Re-Finance offer. If the terms offered by Lender are not substantially the
    same as those offered by the third-party lender (e.g. term, interest rate, loan to value) then
    Borrower has the right to enter into a such Re-Finance loan with third-party lender.

    9.        EXHIBITS

              The following exhibits to this Agreement are fully incorporated herein as if set forth at
    length:

                     Exhibit A - Premises Description
                     Exhibit B - Budget and Disbursement Schedule
                     Exhibit C - Closing Requirements
                     Exhibit D - Request for Loan Advance
                     Exhibit E - Survey Certification
                     Exhibit F – Extension Certificate


                                          [Signature Page Follows]



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                                            EXHIBIT A

                                   Legal Description of Premises


    Lots 1, 2 and 3 of Mighty Argo Mill Minor Subdivision, recorded December 30, 2020 at
    Reception No. 298805 City of Idaho Springs, County of Clear Creek, State of Colorado.




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                                    EXHIBIT B

                                      Budget




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                                               EXHIBIT C

                                           Closing Requirements


            The obligations of Lender to make the Loan to Borrower and to perform the remainder of
    its obligations under the Agreement are expressly conditioned upon its receipt and approval of
    each of the following items:

              (a)    Appraisal. The Appraisal.

           (b)    Construction Contracts. One copy of the General Contract and any other
    Construction Contracts, and such financial statements of the General Contractor and each
    Construction Contractor as Lender may require. The copy of the General Contract or any
    Construction Contract delivered to Lender must include, at Lender’s request, a schedule showing
    all Subcontracts awarded as of the date of delivery of such General Contract or
    Construction Contract to Lender, including names, types of work, Subcontract amounts and the
    percentage retainage provided in said Subcontracts. Overhead and profit payable under the
    General Contract and any Construction Contract must be payable in accordance with the
    percentage of completion of the contracted scope of work. The General Contract and each
    Construction Contract must contain the Retainage requirements set forth in this Agreement.

           (c)     Agreements. One copy, if any, of Borrower’s agreements with all other parties
    providing architectural, design or engineering services for the Project.

              (d)    Budget. The Budget.

              (e)    Plans and Specifications. Two complete sets of the Plans and Specifications.

              (f)    Construction Schedule. The Construction Schedule.

           (g)    Construction Cost Review. A satisfactory review by Lender, in its sole and
    absolute discretion, of a construction cost analysis performed by an outside consultant, at
    Borrower’s cost.

              (h)    Subcontracts.

                     (i)    At Lender’s request, a copy of the standard form of Subcontract to be used
              by the General Contractor, which form must not prohibit an assignment of the
              Subcontract to Lender or require Subcontractor’s consent thereto. All Subcontracts for
              the Project must be written on the form of Subcontract, if applicable, approved by
              Lender.

                     (ii)   At Lender’s request, copies of all Subcontracts executed prior to the
              Closing Date.




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                     (iii) At Lender’s request, the form and copies of all construction bonds
              obtained by the General Contractor covering any Subcontractor that has executed a
              Subcontract prior to the Closing Date.

           (i)     Payment and Performance Bond. A copy of the payment and performance
    bond provided by General Contractor, in form and substance satisfactory to Lender, duly
    recorded in the Official Records of the County.

            (j)    Authorizations.     All    authorizations,    including     building    permits,
    annexation agreements, plot plan approvals, subdivision approvals, environmental approvals
    (including an environmental impact report or negative declarations if required under applicable
    law), sewer and water permits and zoning and land use entitlements which are necessary for the
    construction of the Project in accordance with the proposed Plans and Specifications and in
    accordance with all applicable building, environmental, subdivision, land use and zoning laws
    and for tax assessment purposes.

            (k)     Title Report. The Preliminary Title Report and evidence satisfactory to Lender
    that the Title Company is prepared to issue the Title Insurance Policy.

              (l)    Survey. The Survey.

           (m)     Insurance. Certificates of insurance showing Lender as certificate holder and
    lender loss payable and/or additional insured, as applicable, and copies of the policies of
    insurance required under Section 6.19 of the Loan Agreement.

            (n)     Assignment of Plans. Assignment of the Plans and Specifications, together with
    the architect’s agreement and consent of architect.

           (o)     Assignment of General Contract. Assignment of General Contract together
    with related consent and estoppel certificate, each in form and substance as reasonably required
    by Lender.

            (p)     Formation Documents. Complete copies of all formation documents relating to
    Borrower and any partners or members in Borrower, as applicable, together with such
    certificates and resolutions as may be required by Lender. .

           (q)      Flood Zone. Evidence satisfactory to Lender, as to whether (a) the Premises are
    located in an area designated by the U.S. Department of Housing and Urban Development as
    having special flood or mudslide hazards, and (b) the community in which the Premises are
    located is participating in the National Flood Insurance Program.

            (r)  Soils Tests. A soils test report prepared by a licensed soils engineer satisfactory
    to Lender showing the locations of, and containing boring logs for, all borings, together with
    recommendations for the design of the foundations, paved areas and underground utilities for the
    Project.

           (s)      Utilities. Evidence satisfactory to Lender, which may be in the form of letters
    from local utility companies or local authorities, that (a) telephone service, electric power, storm

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    sewer, sanitary sewer and water facilities are available to the Premises; (b) such utilities are
    adequate to serve the Project and exist at the boundary of the Project; and (c) no conditions exist
    to affect Borrower’s right to connect into and have unlimited use of such utilities except for the
    payment of a normal connection charge and except for the payment of subsequent charges for
    such services to the utility supplier.

           (t)     Environmental Assessment. An environmental assessment report for the
    Premises, performed by an environmental engineer that is acceptable to Lender, and which
    assessment is in form and substance satisfactory to Lender in Lender’s sole discretion.

          (u)     Environmental Questionnaire. Lender’s form of environmental questionnaire
    completed by Borrower, in form and substance satisfactory to Lender in Lender’s sole discretion.

            (v)     Financial Statements. Financial statements including, without limitation, an
    opening balance sheet of Borrower and a balance sheet, cash flow statement and profit and loss
    statement of Borrower, for Borrower’s three (3) most recent fiscal years (to the extent available),
    certified by Borrower. Financial statements of Guarantor including, without limitation, a balance
    sheet, cash flow statement and profit and loss statement of Guarantor, for Guarantor’s three (3)
    most recent fiscal years (to the extent available), certified by Guarantor. Notwithstanding the
    foregoing, Lender acknowledges and agrees it has reviewed such financial statements as of the
    effective date hereof.

              (w)    Non-Foreign Certificate. The Certification of Non-Foreign Status.

            (x)    Taxes. Satisfactory evidence to Lender that all real property taxes, assessments,
    water, sewer or other charges levied or assessed against the Project have been paid in full.

              (y)    Site Plan. Site plan and grading plan.

            (z)     Equity. Satisfactory evidence to Lender that Borrower has paid from its own
    funds, the difference between the Project Costs and the Loan Amount, which equity amount must
    not be less than $4,500,000.00. Borrower’s equity must be comprised of a combination of cash to
    be deposited with Lender together with prepaid costs of construction within the categories listed
    in the Budget, which categories may include land costs, professional fees, permit fees and
    construction loan fees.

          (aa) Evidence of Zoning. Evidence satisfactory to Lender that the Project will
    comply with applicable zoning ordinances.

              (bb)   Lease Form. The Standard Lease Form.

          (cc) Management Agreement. Borrower has provided Lender with a fully executed
    and complete copy of the Management Agreement, if any, in effect for the Project.

              (dd)   Opinion Letter. An opinion letter in form and substance satisfactory to Lender,.

            (ee) No Broken Priority. Evidence satisfactory to Lender that no materials have been
    delivered to or work commenced on the Premises on or prior to the Closing Date.

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              (ff)   Other Items. Such other items or documents as Lender may reasonably require.




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                                              EXHIBIT D

                                   Form of Request for Loan Advance


                     REQUEST FOR LOAN ADVANCE – COMMERCIAL
    Attn: Real Estate Loan Dept.
    2808 Fairmont Street
    Suite 130
    Dallas, Texas 75201

    RE:       Application for Advance in connection with a Loan in the amount of $[__________]
              to Mighty Argo Cable Car, LLC (“Borrower”)

            Pursuant to that certain Loan Agreement dated January 20, 2021 (“Loan Agreement”)
    between Borrower and Argo Mill SL LLC, a Delaware limited liability company (“Lender”),
    Borrower hereby requests an Advance in the amount of $__________. We acknowledge that this
    amount is subject to inspection, verification, and available funds. All capitalized terms used but
    not defined in this Request for Loan Advance shall have the meanings assigned to such terms in
    the Loan Agreement

            1.     Borrower acknowledges that the approval of this Advance by Lender is subject to
    all of the terms and conditions precedent for the disbursement of Loan proceeds, including,
    without limitation, inspection of the Land and Improvements, verification of the matters set forth
    in this Request for Loan Advance and the availability of Loan proceeds.

           2.     Borrower has provided the draw package in accordance with the construction loan
    draw process described in Article 4 of the Loan Agreement.

           3.      Borrower agrees to provide, if requested by Lender, a Vendor Payee List (Sworn
    Owner’s Statement), showing the name and the amount currently due each party to whom
    Borrower is obligated for labor, material and/or services supplied. This information would be
    provided in support of the disbursements requested in this Request for Loan Advance.

           4.      Borrower to its actual knowledge hereby represents, warrants and covenants with
    Lender as follows:

                   b)     All conditions precedent to the Advance have been satisfied, including,
    without limitation, performance of all of the then-pending obligations of Borrower under the
    Loan Agreement and the other Loan Documents;

                c)      All representations and warranties made by Borrower to Lender in the
    Loan Agreement and otherwise in connection with the Loan continue to be accurate;

                   d)      All permits and licenses required in connection with the work performed
    to date were duly issued prior to commencement of such work.


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                  e)     No Event of Default has occurred under the Loan Agreement or under any
    Loan Document, and no event, circumstance or condition has occurred or exists which, with the
    passage of time or the giving of notice, would constitute a Event of Default under the Loan
    Agreement or under the other Loan Documents;

                   f)       Borrower has received no notice and has no knowledge of any litigation,
    proceedings (including proceedings under Title 11 of the United States Code), liens or claims of
    lien, either filed or threatened against Borrower, any Guarantor, the Improvements, the
    Contractor, or the Premises, except the liens of the Bank and those which are specifically
    identified in writing to Lender;

                  g)      No event, circumstance or condition exists or has occurred which could
    delay or prevent the completion of the Improvements by the completion date of [__________],
    202[__];

                   h)     All Advances advanced by Lender to Borrower for labor, materials and/or
    services furnished prior to this draw request have been paid to the parties entitled to such
    payment, and all Loan Proceeds so disbursed have been used for the purposes set forth in the
    Loan Agreement;

                  i)      All amounts owed to Contractor, any other contractor, and all
    subcontractors for all work done to date (other than amounts included in this Request for
    Advance and other than Retainage) have been paid;

                   j)     All work and materials furnished to date for the Improvements conform
    with the Plans and Specifications, and Borrower has approved all work and materials for which a
    payment is now due and for which this Advance is being requested;

                   k)     The total amount of the requested Advance represents the actual amount
    payable to the Contractor and/or subcontractors who have performed work on the Improvements,
    and all of the Advance requested hereby will be used as payment for the work on the
    Improvements described on the attached documentation and for no other reason;

                   l)     All change orders or changes to the Plans and Specifications or the
    Schedule of Values have been delivered to Lender and, to the extent Lender’s approval is
    required for such change orders or changes under the Loan Agreement, have been approved by
    Lender; and

                 m)     There is no In-Balance Deficit, taking into account any change orders
    approved by Lender.

            5.      Disbursement of the Loan Proceeds requested hereby may be subject to (a) the
    receipt by Lender of a certificate from the issuing Title Company stating that no claims have
    been filed of record which adversely affect the title, and (b) approval from Lender’s Consultant.

           6.     The amount of change orders in dispute between Borrower and the Contractor (or
    any subcontractor) is $_______________.


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           7.     Borrower hereby agrees and acknowledges that this affidavit is made for the
    purpose of inducing Lender to make an Advance to Borrower, and Borrower certifies that the
    statements made herein and in any documents submitted herewith are true and correct.

          8.     Borrower requests that this draw be funded and that the funds be disbursed into
    Account No. __________ at ______________________.

              Executed this _____ day of __________, _____.

                                                BORROWER:

                                                MIGHTY ARGO CABLE CAR,                 LLC,      a
                                                Colorado limited liability company

                                                By: ARGO GP, LLC, a Colorado limited liability
                                                    company, Manager

                                                     By:
                                                           Mary Jane Loevlie
                                                           Manager




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                                               EXHIBIT E

                                          Survey Certification

    To:    TriVecta Capital Group, LLC, a Texas limited liability company, and its successors
    and/or assigns, Mighty Argo Cable Car, LLC, a Colorado limited liability company and [Title
    Insurance Company]

    This is to certify that this map or plat and the survey on which it is based were made in
    accordance with the “2016 Minimum Standard Detail Requirements for ALTA/NSPS Land Title
    Surveys” jointly established and adopted by ALTA and NSPS, and includes items 1, 2, 3, 4, 6(a),
    6(b), 7(a), 7(b)(1), 8, 9, 13, 16, 17, 19 and 20 of Table A thereof, and in addition as Table A Item
    21 the following: 21(a) the locations of existing improvements as measured on each side to the
    nearest property line; 21(b) interior lot lines, if any; and 21(c) all water retention areas and
    drainage water receptacles. The fieldwork was completed on ___________________.

    For purposes of identifying easements, reservations and private restrictions of record, I have
    reviewed and relied on [Title Insurance Company’s] Commitment No. ______________ dated
    ____________________.


                                                  ________________, P.L.S. No. ______________




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